Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 1 of 52




                            Exhibit B

                 Restructuring Support Agreement
         Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 2 of 52
                                                                               EXECUTION VERSION


THIS RESTRUCTURING SUPPORT AGREEMENT IS NOT AN OFFER OR ACCEPTANCE
WITH RESPECT TO ANY SECURITIES OR A SOLICITATION OF ACCEPTANCES OF A
CHAPTER 11 PLAN WITHIN THE MEANING OF SECTION 1125 OF THE BANKRUPTCY
CODE. ANY SUCH OFFER OR SOLICITATION WILL COMPLY WITH ALL APPLICABLE
SECURITIES LAWS AND/OR PROVISIONS OF THE BANKRUPTCY CODE. NOTHING
CONTAINED IN THIS RESTRUCTURING SUPPORT AGREEMENT SHALL BE AN
ADMISSION OF FACT OR LIABILITY OR, UNTIL THE OCCURRENCE OF THE
AGREEMENT EFFECTIVE DATE ON THE TERMS DESCRIBED IN THIS AGREEMENT,
DEEMED BINDING ON ANY OF THE PARTIES TO THIS AGREEMENT.

                              RESTRUCTURING SUPPORT AGREEMENT

        This RESTRUCTURING SUPPORT AGREEMENT (as amended, restated, amended and
restated, supplemented or otherwise modified from time to time in accordance with the terms
hereof, this “Agreement”), dated as of July 1, 2020, is entered into by and among:

       (i) NPC Restaurant Holdings I LLC, a Delaware limited liability company (“NPC
Restaurant Holdings I”), NPC Restaurant Holdings II LLC, a Delaware limited liability company
(“NPC Restaurant Holdings II”), NPC Holdings, Inc., a Delaware corporation (“NPC
Holdings”), NPC International Holdings, Inc., a Delaware corporation (“NPC International
Holdings”), NPC Restaurant Holdings, LLC, a Delaware limited liability company (“NPC
Restaurant Holdings”), NPC International, Inc., a Kansas corporation (“NPC International”),
NPC Operating Company B, Inc., a Kansas corporation (“NPC Operating”), and NPC Quality
Burgers, Inc., a Kansas corporation (“NPC Quality” and together with NPC Restaurant Holdings
I, NPC Restaurant Holdings II, NPC Holdings, NPC International Holdings, NPC Restaurant
Holdings, NPC International, NPC Operating and NPC Quality, each an “NPC Party” or “NPC
Entity” and collectively, the “Company”);

        (ii) the undersigned lenders, or investment advisors or managers for the account of lenders,
party to that certain super priority term loan credit facility (the indebtedness incurred thereunder
by the NPC Entities party thereto, the “Priority Term Loan Indebtedness”) pursuant to that certain
Super-Priority Term Loan Credit Agreement, dated as of January 21, 2020 (as amended, restated,
amended and restated, supplemented or otherwise modified from time to time, the “Priority Credit
Agreement”), among NPC Restaurant Holdings, as holdings and guarantor, NPC International,
NPC Quality and NPC Operating, as borrowers and guarantors, KKR Loan Administration
Services LLC (“KKR”), as administrative agent, and Deutsche Bank Trust Company Americas, as
collateral agent, and the several lenders from time to time parties thereto (the “Priority Lenders”);
and

        (iii) the undersigned lenders, or investment advisors or managers for the account of lenders,
party to that certain senior secured first lien term loan credit facility (the indebtedness incurred
thereunder by the NPC Entities party thereto, the “First Lien Term Loan Indebtedness”) and
senior secured revolving facility (the indebtedness incurred thereunder by the NPC Entities party
thereto, the “First Lien Revolver Indebtedness,” together with the First Lien Term Loan
Indebtedness, the “First Lien Indebtedness”) pursuant to that certain First Lien Term Loan
Facility, dated as of April 20, 2017 (as amended, restated, amended and restated, supplemented or
otherwise modified from time to time, the “First Lien Credit Agreement”), among NPC



WEIL:\97539025\1\65961.0003
       Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 3 of 52




Restaurant Holdings, as holdings and guarantor, NPC International, NPC Quality and NPC
Operating, as borrowers and guarantors, KKR, as administrative agent (as successor to Antares
Capital LP (“Antares”), the “Prepetition Agent”), Deutsche Bank Trust Company Americas, as
collateral agent (as successor to Antares and KKR, the “Prepetition Collateral Agent”), and the
lenders from time to time party thereto (the “First Lien Lenders,” and the undersigned First Lien
Lenders (the “Consenting First Lien Lenders”) and Priority Lenders (the “Consenting Priority
Lenders”) (each to the extent identified as “Consenting Creditors” on the signature pages hereto),
together with their respective successors and permitted assigns and any subsequent consenting
First Lien Lender or consenting Priority Lender that becomes party hereto in accordance with the
terms hereof, the “Consenting Creditors”).

       The Company, each Consenting Creditor, and any subsequent person or entity that
becomes a party hereto in accordance with the terms hereof are referred to herein as the “Parties”
and individually as a “Party.”

        When a reference is made in this Agreement to a Section, Exhibit or Schedule, such
reference shall be to a Section, Exhibit or Schedule, respectively, of or attached to this Agreement
unless otherwise indicated. Unless the context of this Agreement otherwise requires, (a) words
using the singular or plural also include the plural or singular, respectively, (b) the terms “hereof,”
“herein,” “hereby” and derivative or similar words refer to this entire Agreement, (c) the words
“include,” “includes” and “including” when used herein shall be deemed in each case to be
followed by the words “without limitation,” (d) the word “or” shall not be exclusive and shall be
read to mean “and/or,” and (e) any reference to dollars or “$” shall be to United States dollars.
The Parties agree that they have been represented by legal counsel during the negotiation and
execution of this Agreement and, therefore, waive the application of any law, regulation, holding
or rule of construction providing that ambiguities in an agreement or other document shall be
construed against the party drafting such agreement or document.

                                            RECITALS

        WHEREAS, the Parties have engaged in good faith, arm’s length negotiations and have
agreed to enter into certain transactions (the “Restructuring Transactions”) in furtherance of a
global restructuring of the Company (the “Restructuring”), which is anticipated to be effected on
terms and subject to the conditions set forth in (a) this Agreement and (b) consistent with the term
sheet setting forth the terms of the Restructuring Transactions, attached as Exhibit A to this
Agreement (the “Restructuring Term Sheet”);

       WHEREAS, the Company will implement the Restructuring Transactions in connection
with pre-arranged cases (the “Chapter 11 Cases”) under chapter 11 of title 11 of the United States
Code, 11 U.S.C. §§ 101-1532, et seq. (the “Bankruptcy Code”), in the United States Bankruptcy
Court for the Southern District of Texas (the “Bankruptcy Court”);

       WHEREAS, as of the date hereof, the Consenting Creditors hold, in the aggregate,
approximately (i) 92.26% of the aggregate outstanding principal amount of the Priority Term Loan
Indebtedness; (ii) 85.03% of the aggregate outstanding principal amount of the First Lien
Indebtedness; and (iii) 17.13% of the aggregate outstanding principal amount of the Second Lien
Indebtedness;


                                                  2
        Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 4 of 52




       WHEREAS, the Company and the Consenting Creditors have reached an agreement for
the consensual use of Cash Collateral (as defined in the Bankruptcy Code) pursuant to the interim
and final orders approving, among other things, the Company’s use of Cash Collateral, to be
entered by the Bankruptcy Court (respectively, the “Interim Cash Collateral Order” and “Final
Cash Collateral Order” and, together, the “Cash Collateral Orders”), subject to Section 6 hereof;
and

      WHEREAS, the Parties desire to express to each other their mutual support and
commitment in respect of the matters discussed in the Restructuring Term Sheet and hereunder.

        NOW, THEREFORE, in consideration of the premises and the mutual covenants and
agreements set forth herein, and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the Parties, intending to be legally bound, agree as
follows:

        1.       Certain Definitions. 1

        As used in this Agreement, the following terms have the following meanings:

       (a)     “Back-Up Bidder” means the bidder, determined pursuant to the applicable
Bidding Procedures, whose bid(s) constitute(s) the next highest or otherwise best bid(s) for the
applicable interests or assets that are the subject of a Sale Transaction after the applicable
Successful Bid.

        (b)     “Bidding Procedures” means any procedures for the sale of some or all of the assets
or equity interests of or in one or more of the NPC Parties, as approved by the Bankruptcy Court.

     (c)     “Common Stock” means the issued and outstanding shares of common stock of
NPC Restaurant Holdings I or any option thereon or any right or interest therein.

        (d)      “Claims” has the meaning set forth in section 101(5) of the Bankruptcy Code.

       (e)     “Closing” means the consummation of the transactions contemplated by the Plan
on the Effective Date.

        (f)    “Confirmation Order” means the order of the Bankruptcy Court confirming the
Plan in the Chapter 11 Cases, which order will be in form and substance reasonably satisfactory to
the Requisite Creditors and the Company.

       (g)       “Consenting Class” means either the First Lien Lenders or the Priority Lenders, as
applicable.




1   Capitalized terms used but not defined herein shall have the meaning ascribed to such terms in the Restructuring
    Term Sheet.



                                                         3
       Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 5 of 52




       (h)      “Consenting Creditor Advisors” means Creditor Counsel and Houlihan Lokey
Capital, Inc., as financial advisor to the Consenting First Lien Lenders and Consenting Priority
Lenders.

       (i)    “Creditor Counsel” means Gibson, Dunn & Crutcher LLP, as counsel to the ad hoc
group of Consenting Creditors, and Jackson Walker LLP, as local counsel.

        (j)     “Definitive Documents” means (i) this Agreement (including the Restructuring
Term Sheet), (ii) the Plan (including any ballots, supplements, or other documents directly relating
thereto not specified herein), (iii) the Disclosure Statement, (iv) the motion seeking approval by
the Bankruptcy Court of the Disclosure Statement and the Solicitation procedures, and the orders
of the Bankruptcy Court approving the Disclosure Statement and confirming the Plan, (v) the Cash
Collateral Orders, (vi) the motion seeking approval of the Cash Collateral Orders, (vii) the
Backstop Commitment Agreement, (viii) the Rights Offering Procedures and documents relating
to the Rights Offering, (ix) the RO Motion and order approving the RO Motion, (x) any Bidding
Procedures and any motion seeking approval of any Bidding Procedures and/or of a sale of the
interests in or assets of one or more NPC Parties, as well as all agreements, documents, orders,
and/or amendments in connection therewith (collectively, the “Sale Documents”); (xi) any
purchase agreement with any Successful Bidder or Back-Up Bidder; (xii) all exit financing
documents (the “Exit Documents”), (xiii) all first day pleadings or papers, and (xvi) all second
day pleadings or papers, each of which shall be subject to Section 6 hereof.

       (k)     “Disclosure Statement” means the disclosure statement in respect of the Plan,
including, without limitation, all exhibits and schedules thereto, as supplemented from time to
time.

        (l)    “Effective Date” means the date upon which all conditions to the effectiveness of
the Plan have been satisfied or waived in accordance with the terms thereof and the Plan becomes
effective.

      (m)     “Franchise Document” means any franchise agreement or other document or
agreement to which an NPC Party is a party with The Wendy’s Company, Quality Is Our Recipe,
LLC, Pizza Hut, LLC, Yum! Brands, Inc. or any affiliate of any of the foregoing entities.

        (n)    “Interest” means any equity security (as defined in section 101(16) of the
Bankruptcy Code) of an NPC Party, including all shares, common stock, preferred stock, or other
instrument evidencing any fixed or contingent ownership interest in any NPC Party, including any
option, warrant, or other right, contractual or otherwise, to acquire any such interest in an NPC
Party, whether or not transferable and whether fully vested or vesting in the future, that existed
immediately before the Effective Date.

        (o)    “Loan Documents” means the term “Credit Documents” as defined in each of the
Priority Credit Agreement, the First Lien Credit Agreement, and the Second Lien Term Loan
Credit Agreement, as applicable.

       (p)      “Outside Date” means the date that is one hundred and forty-four (144) calendar
days after the Petition Date.



                                                 4
       Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 6 of 52




       (q)     “Plan” means the chapter 11 plan of reorganization of the Company implementing
the Restructuring and the Restructuring Term Sheet, which shall be consistent in all material
respects with this Agreement and the Restructuring Term Sheet and otherwise in form and
substance reasonably acceptable the Requisite Creditors.

        (r)    “Reorganized NPC Parent” means the parent entity of the Reorganized Debtors as
of the Effective Date, in accordance with the Plan.

       (s)     “Reorganized Debtors” means the Debtors, as reorganized on the Effective Date.

        (t)    “Requisite Creditors” means, as of the date of determination, (i) Consenting First
Lien Lenders holding at least a majority of the aggregate principal amount outstanding of the First
Lien Indebtedness held by all Consenting First Lien Lenders (including any First Lien
Indebtedness subject to an assignment pending settlement to which such Consenting First Lien
Lender is the assignee thereunder) (the “Requisite First Lien Lenders”), and (ii) Consenting
Priority Lenders holding at least a majority of the aggregate principal amount outstanding of the
Priority Indebtedness held by all Consenting Priority Lenders (including any Priority Indebtedness
subject to an assignment pending settlement to which such Consenting Priority Lender is the
assignee thereunder) (the “Requisite Priority Lenders”); provided that the Requisite Creditors
must comprise at least two non-affiliated Consenting Creditors.

       (u)    “Sale Transaction” means a sale of some or all of the interests in or assets of one
or more NPC Parties in accordance with a purchase agreement among the applicable NPC Parties
and a Successful Bidder, as approved by the Bankruptcy Court.

        (v)     “Second Lien Term Loan Facility” means that certain senior secured second lien
credit facility (and, the indebtedness incurred by the Company thereunder, the “Second Lien
Indebtedness” and, together with the First Lien Indebtedness, the “Indebtedness”) pursuant to that
certain Second Lien Credit Agreement.

       (w)     “Second Lien Credit Agreement” means that certain Second Lien Term Loan
Credit Agreement, dated as of April 20, 2017, as amended, restated, amended and restated,
supplemented or otherwise modified from time to time, among NPC Restaurant Holdings, as
holdings and guarantor, NPC International, NPC Quality, and NPC Operating, as borrowers and
guarantors, and KKR as administrative agent.

       (x)    “Second Lien Lenders” means the lenders from time to time party to the Second
Lien Credit Agreement.

       (y)     “Securities Act” means the Securities Act of 1933, as amended.

        (z)    “Solicitation” means the solicitation of votes to accept or reject the Plan pursuant
to Sections 1125 and 1126 of the Bankruptcy Code.

       (aa)     “Successful Bidder” means the bidder, determined pursuant to the applicable
Bidding Procedures, whose bid(s) constitute(s) the highest or otherwise best bid(s) for the
applicable interests or assets that are the subject of a Sale Transaction (such bid, a “Successful
Bid”).


                                                5
       Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 7 of 52




        (bb) “Support Effective Date” means the date on which (i) counterpart signature pages
to this Agreement shall have been executed and delivered by (a) the Company and (b) Consenting
Creditors holding (I) at least 66⅔% in aggregate principal amount outstanding of the First Lien
Indebtedness (including any First Lien Indebtedness subject to an assignment pending settlement
to which such Consenting First Lien Lender is the assignee thereunder) and (II) at least 66⅔% in
aggregate principal amount outstanding of the Priority Term Loan Indebtedness (including any
Priority Indebtedness subject to an assignment pending settlement to which such Consenting
Priority Lender is the assignee thereunder), and (ii) all of the reasonable and documented out-of-
pocket fees and expenses of the Consenting Creditor Advisors incurred, outstanding as of the day
immediately prior to the Support Effective Date, and invoiced shall have been paid in full in cash
(except as otherwise agreed by the applicable Consenting Creditor Advisor).

       (cc) “Support Period” means the period commencing on the Support Effective Date and
ending on the earlier of the (i) date on which this Agreement is terminated in accordance with
Section 5 hereof and (ii) Effective Date.

       2.      Bankruptcy Process; Plan of Reorganization.

        (a)    The Restructuring Term Sheet. The Restructuring Term Sheet is expressly
incorporated herein and made a part of this Agreement. All references to this Agreement shall be
deemed to include the Restructuring Term Sheet. The material terms and conditions of the
Restructuring are set forth in the Restructuring Term Sheet; provided that the Restructuring Term
Sheet is supplemented by the terms and conditions of this Agreement. In the event of any
inconsistencies between the terms of this Agreement and the Restructuring Term Sheet, the terms
of this Agreement shall govern.

        (b)     Commencement of the Chapter 11 Cases. The Company hereby agrees that, as
soon as reasonably practicable, but in no event later than July 1, 2020 (the “Outside Petition Date”)
(the date on which such filing occurs, the “Petition Date”), the Company shall file with the
Bankruptcy Court voluntary petitions for relief under chapter 11 of the Bankruptcy Code and any
and all other documents necessary to commence the Chapter 11 Cases of the Company.

        (c)     Confirmation of the Plan. The Company shall use its commercially reasonable
efforts to obtain confirmation of the Plan as soon as reasonably practicable following the Petition
Date in accordance with the Bankruptcy Code and on terms consistent with this Agreement, and
each Consenting Creditor shall use its commercially reasonable efforts to cooperate fully in
connection therewith.

      (d)     Cash Collateral. No later than two (2) business days after the Petition Date, the
Company shall file a motion with the Bankruptcy Court seeking interim and final authority to use
Cash Collateral in accordance with the Cash Collateral Orders.

       3.      Agreements of the Consenting Creditors.

      (a)     Voting; Support. Each Consenting Creditor agrees that, during the Support Period,
such Consenting Creditor shall:




                                                 6
Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 8 of 52




        (i)     (A) timely vote or cause to be voted its Claims (including, without
limitation, all claims arising under the Priority Credit Agreement, the First Lien Credit
Agreement, and the Second Lien Credit Agreement, as applicable) to accept the Plan by
delivering its duly executed and completed ballot or ballots, as applicable, accepting the
Plan on a timely basis, and (B) not change or withdraw such vote (or cause or direct such
vote to be changed or withdrawn); provided, however, that such vote may, upon written
notice to the Company and the other Parties, be revoked (and, upon such revocation,
deemed void ab initio) by any Consenting Creditor at any time following the expiration of
the Support Period;

        (ii)    timely vote or cause to be voted its Claims against any plan, plan proposal,
restructuring proposal, offer of dissolution, assignment for the benefit of creditors, winding
up, liquidation, sale or disposition, reorganization, merger, business combination, joint
venture, debt or equity financing or re-financing, recapitalization or other restructuring of
the Company (including, for the avoidance of doubt, a transaction premised on an asset
sale under section 363 of the Bankruptcy Code) other than the Plan (each, an “Alternative
Restructuring”);

        (iii)   not directly or indirectly, through any person or entity (including, without
limitation, any administrative agent or collateral agent), seek, solicit, propose, support,
assist, engage in negotiations in connection with or participate in the formulation,
preparation, filing or prosecution of any Alternative Restructuring or object to or take any
other action that is inconsistent with or that would reasonably be expected to prevent,
interfere with, delay or impede the Solicitation, approval of the Disclosure Statement, or
the confirmation and consummation of the Plan and the consummation of the
Restructuring;

        (iv)    not file any motion, pleading, or other document with the Bankruptcy Court
or any other court (including any modifications or amendments thereof) that, in whole or
in part, is not consistent with this Agreement, the Restructuring Term Sheet, the
Restructuring or the Restructuring Transactions; provided that such Consenting Creditor
(and the Requisite Creditors, Requisite Priority Lenders, or the Requisite First Lien
Lenders, in their respective capacities) may file motions, pleadings or other documents
with the Bankruptcy Court or any other court (including any modifications or amendments
thereof) with respect to its or their rights under any Definitive Document and relating to or
arising from matters and rights not specifically set forth in this Agreement or the
Restructuring Term Sheet;

        (v)     not initiate, or have initiated on its behalf, any litigation proceeding of any
kind with respect to the Chapter 11 Cases, this Agreement or the other Restructuring
Transactions contemplated in this Agreement against the Company or the other Parties,
other than to enforce this Agreement or any Definitive Document or as otherwise permitted
under this Agreement;

        (vi)     agree to provide, and to not opt-out of, the releases substantially in the form
set forth in the Restructuring Term Sheet;



                                           7
       Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 9 of 52




               (vii) not direct any administrative agent or collateral agent (as applicable) to take
       any action inconsistent with such Consenting Creditor’s obligations under this Agreement,
       and, if any applicable administrative agent or collateral agent takes any action inconsistent
       with such Consenting Creditor’s obligations under this Agreement, such Consenting
       Creditor shall use commercially reasonable efforts to direct and cause such administrative
       agent or collateral agent to cease and refrain from taking any such action, so long as the
       Consenting Creditors are not required to incur any material out-of-pocket costs or provide
       any indemnity in connection therewith;

              (viii) use its commercially reasonable efforts to support and take all actions
       reasonably requested by the Company to facilitate the Solicitation of the Plan, obtain
       approval of the Disclosure Statement, and obtain confirmation and consummation of the
       Plan and the Restructuring;

              (ix)     upon reasonable request by the Debtors and/or their advisors, use its
       commercially reasonable efforts to promptly provide the Debtors or their advisors, as
       applicable, the aggregate principal amount of each of such Party’s claims, on an issuance-
       by-issuance basis as of the date of such request;

                (x)     without limiting the consent, approval or other rights or obligations
       contained herein, agrees to (A) (1) support and complete the Restructuring and all other
       actions contemplated in connection therewith and under the applicable Definitive
       Documents, (2) exercise any and all necessary and appropriate rights, and execute and
       deliver any and all necessary and appropriate documentation, and (3) use commercially
       reasonable efforts to obtain any and all governmental, regulatory, and/or third-party
       approvals (including, as applicable, Bankruptcy Court approvals), (B) not take any actions,
       or fail to take any actions that prevent, interfere with, delay or impede the implementation
       or consummation of, the Restructuring; and (C) not encourage any entity to undertake any
       action set forth in Section 3(a)(x)(B) hereof;

               (xi)    to the extent any legal or structural impediment arises that would prevent,
       hinder, or delay the consummation of the Restructuring, negotiate in good faith appropriate
       additional or alternative provisions to address any such impediment, which additional or
       alternative provisions shall be reasonably acceptable to the Requisite Creditors; and

              (xii) if any of the Consenting Creditors know of a material breach by any
       Consenting Creditor of the obligations, representations, warranties, or covenants of any of
       the Consenting Creditors set forth in this Agreement, furnish prompt written notice (and in
       any event, furnish such written notice within three (3) business days of such actual
       knowledge) to the Company (with a copy to Weil, Gotshal & Manges LLP (“Weil”), as
       counsel to the Company)) and promptly take all reasonable and practicable remedial action
       necessary to cure such material breach by any Consenting Creditor.

       (b)     Transfers. Each Consenting Creditor agrees that, during the Support Period, such
Consenting Creditor shall not sell, transfer, loan, issue, pledge, hypothecate, assign or otherwise
dispose of (each, a “Transfer”), directly or indirectly, in whole or in part, any of its Claims or any
option thereon or any right or interest therein or any other claims against or interests in the


                                                  8
        Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 10 of 52




Company (including the grant of any proxy or the deposit of any Claims against or interests in the
Company into a voting trust or the entry into a voting agreement with respect thereto), unless the
transferee thereof either (i) is a Consenting Creditor or (ii) prior to such Transfer, agrees in writing
for the benefit of the Parties to become a Consenting Creditor and to be bound by all of the terms
of this Agreement applicable to Consenting Creditors (including with respect to any and all claims
or interests it already may hold against or in the Company prior to such Transfer) by executing a
joinder agreement, a form of which is attached hereto as Exhibit B (a “Joinder Agreement”), and
delivering an executed copy thereof within two (2) business days of such execution, to (A) Weil,
as counsel to the Company, and (B) Creditor Counsel, in which event (x) the transferee (including
the Consenting Creditor transferee, if applicable) shall be deemed to be a Consenting Creditor
hereunder and (y) the transferor shall be deemed to relinquish its rights (and be released from its
obligations) under this Agreement to the extent of such Transferred rights and obligations;
provided that a Consenting Creditor agrees that any Transfer of any Claim, option or interest that
does not comply with the terms and procedures set forth herein shall be deemed void ab initio, and
the Company and each Consenting Creditor shall have the right to enforce the voiding of such
transfer; provided further that a Consenting Creditor may Transfer its Claims to an entity that is
acting in its capacity as a Qualified Marketmaker 2 without the requirement that the Qualified
Marketmaker execute a Joinder Agreement, provided that (I) any subsequent Transfer by such
Qualified Marketmaker of the right, title, or interest in such Claims is to a transferee that is or
becomes a Consenting Creditor at the time of such Transfer and (II) the Qualified Marketmaker
complies with Section 3(e) hereof. To the extent that a Consenting Creditor is acting in its capacity
as a Qualified Marketmaker, it may Transfer any right, title, or interest in such Claims that the
Qualified Marketmaker acquires from a holder of the Claims who is not a Consenting Creditor
without the requirement that the transferee be or become a Consenting Creditor.

                 (i)     Tax Attribute Protection Motions. Each Consenting Creditor agrees to
         support the filing of a customary stock trading order that restricts the accumulation and
         disposition of stock by persons who own, or would own, more than approximately 4.75%
         of the Common Stock during the pendency of the Chapter 11 Cases.

        (c)   Additional Claims or Interests. This Agreement shall in no way be construed to
preclude a Consenting Creditor from acquiring additional Claims; provided that each Consenting
Creditor hereby acknowledges and agrees that such additional Claims shall automatically and
immediately upon acquisition by such Consenting Creditor be subject to the terms of this
Agreement. Each Consenting Creditor shall report the aggregate amount of Claims it holds, by
issuance to Weil and Creditor Counsel in no event less than three (3) business days following such
acquisition.

       (d)     Forbearance. During the Support Period, each Consenting Creditor agrees, to
forbear from the exercise of its rights (including any right of set-off) or remedies it may have under
any of the Loan Documents and any agreement contemplated thereby, as applicable, and under

2   As used herein, the term “Qualified Marketmaker” means an entity that (a) holds itself out to the public or the
    applicable private markets as standing ready in the ordinary course of business to purchase from customers and
    sell to customers claims against the Company (or enter with customers into long and short positions in claims
    against the Company), in its capacity as a dealer or marketmaker in claims against the Company and (b) is, in fact,
    regularly in the business of making a market in claims against issuers or borrowers (including debt securities or
    other debt).


                                                          9
       Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 11 of 52




applicable U.S. or foreign law or otherwise, in each case, with respect to any breaches, defaults,
events of default or potential defaults by the Company. Each Consenting Creditor further agrees
that if any applicable administrative agent or collateral agent takes any action inconsistent with
any such Consenting Creditor’s obligations under this Agreement, such Consenting Creditor shall
direct and use commercially reasonable efforts to cause such administrative agent or collateral
agent to cease and refrain from taking such actions. For the avoidance of doubt, the forbearance
set forth in this Section 3(d) shall not constitute a waiver with respect to any default or event of
default under the Priority Credit Agreement or First Lien Credit Agreement and shall not bar any
Consenting Creditor from filing a proof of claim or taking action to establish the amount of such
claim. Upon rightful termination of this Agreement, the agreement of the Consenting Creditors to
forbear from exercising rights and remedies in accordance with this Section 3(d) shall immediately
terminate without the requirement of any demand, presentment or protest of any kind, all of which
the NPC Parties hereby waive.

         (e)    Obligations of Qualified Marketmaker. If at the time of a proposed Transfer of
Claims to a Qualified Marketmaker, such Claims (i) may be voted on the Plan, the proposed
transferor Consenting Creditor must first vote such Claims in accordance with Section 3(a) hereof
or (ii) have not yet been and may not yet be voted on the Plan and such Qualified Marketmaker
does not Transfer such Claims or Interests to a subsequent transferee prior to the third (3rd)
business day prior to the expiration of the applicable voting deadline (such date, the “Qualified
Marketmaker Joinder Date”), such Qualified Marketmaker shall be required to (and the transfer
documentation to the Qualified Marketmaker shall have provided that it shall), on the first (1st)
business day immediately following the Qualified Marketmaker Joinder Date, become a
Consenting Creditor with respect to such Claims in accordance with the terms hereof (including
the obligation to vote in favor of the Plan) and shall vote in favor of the Plan in accordance with
the terms hereof; provided that the Qualified Marketmaker shall automatically, and without further
notice or action, no longer be a Consenting Creditor with respect to such Claims at such time that
the transferee of such Claims becomes a Consenting Creditor, with respect to such Claims.

         (f)    The Company understands that the Consenting Creditors are engaged in a wide
range of financial services and businesses, and, in furtherance of the foregoing, the Company
acknowledges and agrees that the obligations set forth in this Agreement shall only apply to the
trading desk(s) and/or business group(s) of the Consenting Creditor that principally manage and/or
supervise the Consenting Creditor’s investment in the Company, and shall not apply to any other
trading desk or business group of the Consenting Creditor so long as they are not acting at the
direction or for the benefit of such Consenting Creditor. Further, notwithstanding anything in this
Agreement to the contrary, the Parties agree that, in connection with the delivery of signature pages
to this Agreement by a Consenting Creditor that is a Qualified Marketmaker, before the occurrence
of conditions giving rise to the Support Effective Date, such Consenting Creditor shall be a
Consenting Creditor hereunder solely with respect to the Claims listed on such signature pages
and shall not be required to comply with this Agreement for any other Claims it may hold in its
capacity as a Qualified Marketmaker.

       (g)     Nothing in this Agreement shall (i) impair or waive the rights of any Consenting
Creditor to assert or raise any objection permitted under this Agreement in connection with the
Restructuring, (ii) prohibit any Consenting Creditor from taking any action that is not inconsistent
with this Agreement, (iii) prevent any Consenting Creditor from enforcing this Agreement or


                                                 10
         Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 12 of 52




contesting whether any matter, fact or thing is a breach of, or is inconsistent with, this Agreement,
(iv) be construed to limit any Consenting Creditor’s rights under any applicable credit agreement,
other loan document, instrument, and/or applicable law, (v) affect the ability of any Consenting
Creditor to consult with any other Consenting Creditor, the Debtors, or any other party in interest
in the Chapter 11 Cases (including any official committee or the United States Trustee), (vi) impair
or waive the rights of any Consenting Creditor to assert or raise any objection permitted under this
Agreement in connection with any hearing on confirmation of the Plan or in the Bankruptcy Court,
(vii) prohibit any Consenting Creditor from appearing as a party in interest in any matter to be
adjudicated in a Chapter 11 Case, so long as such appearance and any positions advocated in
connection therewith are not inconsistent with this Agreement and are not for the purpose of
delaying, interfering, impeding, or taking any other action to delay, interfere, or impede, directly
or indirectly, the Restructuring Transactions, (viii) prevent any Consenting Creditor from taking
any action that is required by applicable law, (ix) require any Consenting Creditor to take any
action that is prohibited by applicable law or to waive or forego the benefit of any applicable legal
privilege (provided, however, that if any Consenting Creditor proposes to take any action that is
otherwise inconsistent with this Agreement in order to comply with applicable law, such
Consenting Creditor shall provide at least three (3) business days’ advance notice to the NPC
Parties to the extent the provision of notice is practicable under the circumstances), or (x) require
any Consenting Creditor to incur any expenses, liabilities, or other obligations, or to agree to any
commitments, undertakings, concessions, indemnities, or other arrangements that could result in
expenses, liabilities, or other obligations.

         4.     Agreements of the Company.

         (a)    Covenants. The Company agrees that, during the Support Period, the Company
shall:

                  (i)     support, take all steps necessary to consummate and implement, and
         facilitate the consummation and implementation of the Restructuring and the Restructuring
         Transactions in accordance with the Milestones (defined below);

                 (ii)    not file any motion, pleading, or Definitive Documents with the Bankruptcy
         Court or any other court (including any modifications or amendments thereof) that, in
         whole or in part, is not materially consistent with this Agreement, the Restructuring Term
         Sheet, or the Plan;

                 (iii)   (A) use commercially reasonable efforts to obtain any and all required
         regulatory approvals for the Restructuring set forth in the Plan, if any; and (B) not take any
         action that is inconsistent with or that would reasonably be expected to prevent, interfere
         with, delay or impede the Solicitation, approval of the Disclosure Statement, or the
         confirmation and consummation of the Plan and the consummation of the Restructuring,
         in each case, to the extent consistent with, upon the advice of counsel, the fiduciary duties
         of the boards of directors, managers, members or partners, as applicable, of each NPC
         Party; provided that the Company shall not be obligated to agree to any modification of
         any document that is inconsistent with the Restructuring Term Sheet;




                                                  11
Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 13 of 52




       (iv)    deliver draft copies of all material and substantive motions or applications
and other material documents related to the Restructuring (including the Plan, the
Disclosure Statement, ballots and other Solicitation materials in respect of the Plan and any
proposed amended version of the Plan or the Disclosure Statement, and a proposed
confirmation order) the Company intends to file with the Bankruptcy Court to Creditor
Counsel, at least two (2) days prior to the date when the Company intends to file any such
document (provided that if delivery of such document at least two (2) days in advance is
not reasonably practicable under the circumstances, such document shall be delivered as
soon as otherwise practicable prior to filing) and shall consult in good faith with Creditor
Counsel regarding the form and substance of any such proposed filing with the Bankruptcy
Court;

        (v)     not, directly or indirectly, through any person or entity, take any action that
is inconsistent with, or that would reasonably be expected to prevent, interfere with, delay
or impede, consummation of the Restructuring, including the Solicitation, approval of the
Disclosure Statement, and the confirmation and consummation of the Plan;

        (vi)   to the extent that any legal or structural impediment arises that would
prevent, hinder, or delay the consummation of the transactions contemplated in this
Agreement or the Plan, negotiate in good faith appropriate additional or alternative
provisions to address any such impediment, in consultation with the Requisite Creditors;

       (vii) maintain its good standing under the laws of the state or other jurisdiction
in which they are incorporated or organized;

       (viii) as soon as reasonably practicable, notify the Consenting Creditors in writing
of any governmental or third-party complaints, litigations, investigations, or hearings (or
communications indicating that the same may be contemplated or threatened);

        (ix)    if any of the NPC Parties know of a material breach by any NPC Party of
the obligations, representations, warranties, or covenants of any of the NPC Parties set forth
in this Agreement, furnish prompt written notice (and in any event, furnish such written
notice within three (3) business days of such actual knowledge) to the Consenting Creditors
(with a copy to Creditor Counsel) and promptly take all reasonable and practicable
remedial action necessary to cure such material breach by any such NPC Party;

        (x)    pay in cash (A) prior to the Petition Date, all reasonable and documented
fees and out-of-pocket expenses accrued prior to the Petition Date for which invoices or
receipts are furnished by Consenting Creditor Advisors, (B) after the Petition Date, in
accordance with the Cash Collateral Orders, all reasonable and documented fees and
out-of-pocket expenses of the Consenting Creditor Advisors incurred on and after the
Petition Date from time to time, but in any event within seven (7) days of delivery to the
NPC Parties of any applicable invoice or receipt, and (C) on the Effective Date, all
reasonable and documented fees and out-of-pocket expenses of the Consenting Creditor
Advisors incurred and outstanding in connection with the Restructuring (including any
success or transaction fees payable to Houlihan Lokey Capital, Inc.);




                                          12
       Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 14 of 52




               (xi)     subject to professional responsibilities, timely file a formal objection to any
       motion filed with the Bankruptcy Court by a third party (i) seeking the entry of an order
       (A) directing the appointment of a trustee or examiner (with expanded powers beyond those
       set forth in sections 1106(a)(3) and (4) of the Bankruptcy Code), (B) converting the Chapter
       11 Cases to cases under chapter 7 of the Bankruptcy Code, (C) dismissing the Chapter 11
       Cases, or (D) modifying or terminating the Debtors’ exclusive right to file and/or solicit
       acceptances of a plan of reorganization, as applicable, or (ii) challenging the validity,
       enforceability, perfection, or priority of, or seeking avoidance or subordination of, any
       portion of the Priority Term Loan Indebtedness or the First Lien Indebtedness, or asserting
       any other cause of action against and/or with respect or relating to such Claims or the
       prepetition liens securing such Claims;

               (xii) not seek, solicit, or support any Alternative Restructuring, other than the
       Restructuring, or cause or allow any of their agents or representatives to solicit any
       Alternative Restructuring, unless the board of directors of any NPC Party determines,
       based on the advice of outside legal counsel, in good faith, and consistent with its fiduciary
       duties, that proceeding with the Restructuring would be inconsistent with the applicable
       fiduciary duties of such board of directors. Prior to the earlier of (x) making a public
       announcement regarding their intention to accept an Alternative Restructuring or
       (y) entering into a definitive agreement with respect to an Alternative Restructuring, the
       Debtors shall have terminated this Agreement pursuant to Section 5(c) hereof. The Debtors
       shall, to the extent practicable and consistent with their fiduciary duties, give Creditor
       Counsel not less than two (2) business days’ prior written notice before exercising such
       termination right in accordance with this Agreement. At all times prior to the date on which
       the Debtors enter into a definitive agreement in respect of such an Alternative Restructuring
       or make a public announcement regarding their intention to do so, the Debtors shall
       promptly (but in no event later than three (3) business days after the Debtors’ receipt of
       such offer or proposal) provide to Creditor Counsel a copy of any written offer or proposal
       (and notice and a description of any oral offer or proposal) for such Alternative
       Restructuring; and

               (xiii) not make any worthless stock deduction for any tax year ending on or prior
       to the Plan Effective Date, to the extent such declaration of worthlessness or other
       transaction or event may impair or adversely affect any of the tax attributes of the NPC
       Entities or any of their subsidiaries (including under section 108 or 382 of the Internal
       Revenue Code of 1986 (as amended)).

        (b)    Automatic Stay. The Company acknowledges and agrees and shall not dispute that
after the commencement of the Chapter 11 Cases, the giving of notice of termination of this
Agreement by any Party pursuant to this Agreement shall not be a violation of the automatic stay
under section 362 of the Bankruptcy Code (and the Company hereby waives, to the fullest extent
permitted by law, the applicability of the automatic stay to the giving of such notice); provided
that nothing herein shall prejudice any Party’s rights to argue that the giving of notice of default
or termination was not proper under the terms of this Agreement.

        (c)      Nothing in this Agreement shall (i) impair or waive the rights of the NPC Parties to
assert or raise any objection permitted under this Agreement in connection with the Restructuring,


                                                 13
       Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 15 of 52




(ii) prohibit any NPC Party from taking any action that is not inconsistent with this Agreement,
(iii) prevent any NPC Party from enforcing this Agreement or contesting whether any matter, fact
or thing is a breach of, or is inconsistent with, this Agreement, (iv) prevent any NPC Party from
taking any action that is required by applicable law, or (v) require any NPC Party to take any action
that is prohibited by applicable law or to waive or forego the benefit of any applicable legal
privilege (provided, however, that if any NPC Party proposes to take any action that is otherwise
inconsistent with this Agreement in order to comply with applicable law, such NPC Party shall
provide at least two (2) business days’ advance notice to the Consenting Creditors to the extent the
provision of notice is practicable under the circumstances and permitted under applicable law).

       5.      Termination of Agreement.

        (a)     This Agreement shall terminate three (3) business days following the delivery of
notice, delivered in accordance with Section 21 hereof, from the Requisite First Lien Lenders or
Requisite Priority Lenders, as applicable, to the other Parties at any time after and during the
continuance of any Creditor Termination Event (defined below); provided that termination by the
Requisite First Lien Lenders or Requisite Priority Lenders, as applicable, shall only be effective
as to the applicable Consenting Class. In addition, this Agreement shall terminate in respect of the
applicable Consenting Class three (3) business days following the delivery of notice, delivered in
accordance with Section 21 hereof, from NPC International to the other Parties at any time after
the occurrence and during the continuance of any Company Termination Event. No Party may
exercise any of its respective termination rights as set forth herein if (i) such Party is in breach of
this Agreement (unless such failure to perform or comply arises as a result of another Party’s
actions or inactions), (ii) such breach has caused, or resulted in, the occurrence of a Creditor
Termination Event or Company Termination Event (defined below) (as applicable), and (iii) such
breach is continuing when such Party seeks to exercise any of its respective termination rights. In
addition, this Agreement shall terminate automatically on the Effective Date.

       (b)     A “Creditor Termination Event” shall mean any of the following:

              (i)     the breach by any NPC Party of any of the undertakings, representations,
       warranties or covenants of such NPC Party set forth herein in any material respect which
       remains uncured for a period of seven (7) business days after the receipt of written notice
       of such breach pursuant to Sections 5(a) and 21 hereof (as applicable);

               (ii)    the issuance by any governmental authority, including any regulatory
       authority or court of competent jurisdiction, of any ruling, judgment or order enjoining the
       consummation of or rendering illegal the Plan or the Restructuring, and such ruling,
       judgment or order has not been stayed, reversed or vacated within ten (10) business days
       after such issuance;

              (iii)    any Definitive Document not being acceptable or reasonably acceptable (as
       applicable) to the Requisite Creditors or the Backstop Parties (as applicable);

               (iv)   any NPC Party (A) amending, or modifying, or filing a pleading seeking
       authority to amend or modify, any Definitive Document in a manner that is materially
       inconsistent with this Agreement without the prior written consent of the Requisite



                                                  14
Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 16 of 52




Creditors; (B) suspending or revoking the Restructuring Transactions; or (C) publicly
announcing its intention to take any such action listed in the foregoing clauses (A) and (B)
of this subsection;

        (v)     the Company files any motion or pleading with the Bankruptcy Court that
is inconsistent with this Agreement or the Restructuring Term Sheet;

       (vi)   any NPC Party (A) commences a Chapter 11 Case in a court other than the
Bankruptcy Court, (B) files any chapter 11 plan for an Alternative Restructuring or
(C) withdraws the Plan or its support for the Plan;

       (vii) the entry of any order authorizing the use of Cash Collateral or postpetition
financing that is not in the form of the Cash Collateral Orders or otherwise consented to by
the Requisite Creditors;

       (viii) any NPC Party filing a motion, application, or adversary proceeding (or any
NPC Party supporting (or failing to object to, as required by Section 4(a)(ix) hereof) any
such motion, application, or adversary proceeding filed or commenced by any third party)
challenging the validity, enforceability, perfection, or priority of, or seeking avoidance or
subordination of, any portion of the First Lien Indebtedness or Priority Term Loan
Indebtedness (including the amount thereof, as applicable) or the liens securing such First
Lien Indebtedness or Priority Term Loan Indebtedness, or asserting any other cause of
action against any of the Consenting Creditors; provided that the Creditor Termination
Event set forth in this Section 5(b)(viii) shall be assertable by the Requisite Priority Lenders
or the Requisite First Lien Lenders or any Consenting Creditor against which any such
motion, application, or adversary proceeding has been filed, asserted or commenced;

       (ix)   the occurrence of any Termination Event (as defined in the Cash Collateral
Orders) under any of the Cash Collateral Orders and the expiration of any applicable
Default Notice Period (as defined in the Cash Collateral Orders);

        (x)     the termination of the Backstop Commitment Agreement in accordance
with its terms;

       (xi)    any NPC Party terminating its obligations under and in accordance with
Section 5(c) hereof;

        (xii) entry of an order granting relief from the automatic stay imposed by
section 362 of the Bankruptcy Code authorizing any party to proceed against any material
asset having a fair market value of at least $500,000 of any of the NPC Entities or that
would materially and adversely affect any of the NPC Entities’ ability to operate their
businesses in the ordinary course;

       (xiii) entry of an order (including any order confirming a chapter 11 plan)
assuming or rejecting any Franchise Document, unexpired lease, or material executory
contract that is not satisfactory to the Requisite Creditors;




                                          15
       Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 17 of 52




                (xiv) entry into any written agreement or stipulation by any NPC Party with any
        counterparty to any Franchise Document, unexpired lease, or material executory contract
        with respect to any cure amount due in connection with the proposed or actual assumption
        of any such Franchise Document, unexpired lease, or material executory contract under
        section 365 of the Bankruptcy Code or the entry of an order by the Bankruptcy Court
        determining any such cure amount, in each case, that is not satisfactory to the Requisite
        Creditors;

                (xv) entry of an order by any court of competent jurisdiction granting relief
        sought in an involuntary case against any NPC Party seeking bankruptcy, winding up,
        dissolution, liquidation, administration, moratorium, reorganization or other relief in
        respect of such NPC Party, or their debts, or of a substantial part of their assets, under any
        federal, state or foreign bankruptcy, insolvency, administrative receivership or similar law
        now or hereafter in effect; provided that such involuntary proceeding is not dismissed
        within a period of forty-five (45) days after the filing thereof;

                (xvi) any NPC Party, without the prior consent of the Requisite Creditors,
        (A) voluntarily commencing any case or filing any petition seeking bankruptcy, winding
        up, dissolution, liquidation, administration, moratorium, reorganization or other relief
        under any federal, state, or foreign bankruptcy, insolvency, administrative receivership or
        similar law now or hereafter in effect except as provided in this Agreement, (B) consenting
        to the institution of, or failing to contest in a timely and appropriate manner, any
        involuntary proceeding or petition described above, (C) filing an answer admitting the
        material allegations of a petition filed against it in any such proceeding, (D) applying for
        or consenting to the appointment of a receiver, administrator, administrative receiver,
        trustee, custodian, sequestrator, conservator or similar official, or (E) making a general
        assignment or arrangement for the benefit of creditors;

                (xvii) if (A) any of the Cash Collateral Orders are reversed, stayed, dismissed,
        vacated, reconsidered, modified, or amended without the consent of the Requisite Creditors
        or (B) a motion for reconsideration, reargument, or rehearing with respect to any such order
        has been filed and the NPC Parties have failed to object timely to such motion;

                (xviii) if (A) the Confirmation Order is reversed, stayed, dismissed, vacated,
        reconsidered, modified, or amended without the consent of the Requisite Creditors or (B)
        a motion for reconsideration, reargument, or rehearing with respect to any such order has
        been filed and the NPC Parties have failed to timely object to such motion;

                (xix) if any of the following events (collectively, the “Milestones”) fail to occur
        by no later than 11:59 pm New York City time on the dates set forth below, provided that
        any such time and date may be extended with the consent of the Requisite Creditors (which
        consent may be provided by email): 3




3   Milestones subject to extension to the extent regulatory approvals are necessary.



                                                        16
Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 18 of 52




      General Restructuring Milestones:

               A. on the Outside Petition Date, as such date may be extended with the
        consent of the Requisite Creditors, the Chapter 11 Cases shall have been filed;

              B. on the date that is three (3) calendar days after the Petition Date, the
        Bankruptcy Court shall have entered the Interim Cash Collateral Order;

               C. on the date that is fifty (50) calendar days after the Petition Date, the
        Company shall file the Plan and Disclosure Statement; the motion to approve
        the Disclosure Statement; and RO Motion;

                D. on the date that is forty-two (42) calendar days after the Petition
        Date, the Bankruptcy Court shall have entered the Final Cash Collateral Order;

               E. on the date that is the earlier of (i) the binding bid deadline in the
        NPCQB Sales Process and (ii) ninety (90) calendar days after the Petition Date,
        the Bankruptcy Court shall have entered the order approving the Disclosure
        Statement and the RO Motion;

                F. on the date that is ninety-five (95) calendar days after the Petition
        Date, the Debtors shall have commenced Solicitation of votes for the Plan;

                G. on the date that is one hundred and twenty five (125) calendar days
        after the Petition Date, the Bankruptcy Court shall have held a hearing to
        consider confirmation of the Plan;

               H. on the date that is one hundred and thirty (130) calendar days after
        the Petition Date, the Bankruptcy Court shall have entered the Confirmation
        Order;

                I. on the date that is one hundred and forty-four (144) calendar days
        after the Petition Date, the Effective Date shall occur;

      NPCQB-Specific Milestones:

               J. on the date that is two (2) calendar days after the Petition Date, the
        Debtors shall commence the marketing for the NPCQB Sale Process, with
        contact parties to be agreed by the Debtors and the Requisite Creditors;

               K. on the date that is forty (40) calendar days after the Petition Date,
        non-binding bids with respect to the NPCQB Sale Process shall be due;

               L. on the date that is fifty (50) calendar days after the Petition Date, If
        the NPCQB bids are acceptable to Company and Requisite Creditors, the
        Company shall file a motion to approve Bidding Procedures for the NPCQB Sale
        Process (the “Bid Procedures Motion”);



                                      17
Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 19 of 52




               M. on the date that is seventy-five (75) calendar days after the Petition
        Date, the Bankruptcy Court shall have entered an order approving the Bid
        Procedures Motion;

               N. on the date that is ninety (90) calendar days after the Petition Date,
        binding bids with respect to the NPCQB Sale Process shall be due;

                O. on the date that is ninety-seven (97) calendar days after the Petition
        Date, the Debtors shall hold an auction for the NPCQB Sale Process;

                P. on the date that is one hundred and two (102) calendar days after the
        Petition Date, the Bankruptcy Court shall have entered an order approving one
        or more sales pursuant to the NPCQB Sale Process;

                Q. on the date that is one hundred and thirty-nine (139) calendar days
        after the Petition Date, the NPCQB Sale Process shall have closed and been
        consummated;

        NPCPH-Specific Milestones:

               R. on the date that is twenty-six (26) calendar days after the Petition
        Date, the Company shall file the Bid Procedures Motion with respect to the
        NPCPH Sales Process (if applicable);

                S. on the date that is twenty-eight (28) calendar day after the Petition
        Date, the Debtors shall commence the marketing for the NPCPH Sale Process,
        with contact parties to be agreed by the Debtors and the Requisite Creditors;

               T. on the date that is twenty-eight (28) calendar day after the Petition
        Date, the Debtors shall file a motion to reject the NPCPH leases, franchise
        agreements, Consent and Amendment Agreement and other related agreements;

               U. on the date that is fifty-three (53) calendar days after the Petition
        Date, the Bankruptcy Court shall have entered an order approving the Bid
        Procedures Motion with respect to the NPCPH Sales Process;

               V. on the date that is sixty-nine (69) calendar days after the Petition
        Date, non-binding bids with respect to the NPCPH Sale Process shall be due;

                W. on the date that is one hundred and eleven (111) calendar days after
        the Petition Date, binding bids with respect to the NPCPH Sale Process shall be
        due;

                X. on the date that is one hundred and seventeen (117) calendar days
        after the Petition Date, the Debtors shall hold an auction for the NPCPH Sale
        Process;




                                      18
Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 20 of 52




                  Y. on the date that is one hundred and twenty-two (122) calendar days
          after the Petition Date, the Bankruptcy Court shall have entered an order
          approving one or more sales pursuant to the NPCPH Sale Process;

                  Z. on the date that is one hundred and thirty-nine (139) calendar days
          after the Petition Date, the NPCPH Sale Process shall have closed and been
          consummated;

        (xx) provided that the failure to occur of any of the Milestones on or within the
timeframes contemplated by Section 5(b)(xiv) hereof may be cured at any time prior to
delivery of a notice purporting to terminate this agreement on account of such Milestone;
and

        (xxi) the Bankruptcy Court enters an order (A) directing the appointment of an
examiner with expanded powers or a trustee in the Chapter 11 Cases, (B) converting any
of the Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code, or (C) dismissing
any of the Chapter 11 Cases.

(c)    A “Company Termination Event” shall mean any of the following:

        (i)    the breach by one or more of the Consenting Creditors of any of the
undertakings, representations, warranties or covenants of the applicable Consenting
Creditors set forth herein in any material respect, which remains uncured for a period of
five (5) business days after the receipt of written notice of such breach pursuant to
Sections 5(a) and 21 hereof (as applicable), but only if the remaining non-breaching
Consenting Creditors do not hold at least 66⅔% of the aggregate principal amount of
Claims in the applicable Consenting Class;

       (ii)    the board of directors, managers, members or partners (or comparable
governing body), as applicable, of any NPC Party reasonably determines in good faith
based on the advice of outside counsel that continued performance under this Agreement
would be inconsistent with the exercise of its fiduciary duties under applicable law;
provided that the Company provides notice of such determination to the Consenting
Creditors within two (2) business days after the date thereof;

       (iii)   if, as of 11:59 p.m. New York City time on July 1, 2020, the Support
Effective Date shall not have occurred;

       (iv)    if, as of 11:59 p.m. New York City time on the Outside Date, the Effective
Date shall not have occurred;

        (v)    the issuance by any governmental authority, including any regulatory
authority or court of competent jurisdiction, of any ruling, judgment or order enjoining the
consummation of or rendering illegal the Plan or the Restructuring, and such ruling,
judgment or order has not been stayed, reversed or vacated within fifteen (15) business
days after such issuance;




                                        19
       Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 21 of 52




               (vi)  any Consenting Creditor, the Requisite First Lien Lenders, or the Requisite
       Priority Lenders terminating its obligations under and in accordance with Section 5(b)
       hereof; or

               (vii) the Bankruptcy Court enters an order (A) directing the appointment of an
       examiner with expanded powers or a trustee in the Chapter 11 Cases, (B) converting any
       of the Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code, or (C) dismissing
       any of the Chapter 11 Cases.

      (d)     Mutual Termination. This Agreement may be terminated by mutual written
agreement of NPC International and the Requisite Creditors in accordance with Section 21 hereof.

        (e)      Effect of Termination. Subject to the provisos contained in Section 5(a) hereof,
upon the termination of this Agreement in accordance with this Section 5, and except as provided
in Section 13 hereof, this Agreement shall forthwith become void and of no further force or effect
and each Party shall, except as provided otherwise in this Agreement, be immediately released
from its liabilities, obligations, commitments, undertakings and agreements under or related to this
Agreement and shall have all the rights and remedies that it would have had and shall be entitled
to take all actions, whether with respect to the Restructuring or otherwise, that it would have been
entitled to take had it not entered into this Agreement, including all rights and remedies available
to it under applicable law; provided, however, that in no event shall any such termination relieve
a Party from liability for its breach or non-performance of its obligations hereunder prior to the
date of such termination, and each Consenting Creditor may, upon written notice to the Company
and the other Parties, revoke its vote or any consents given prior to such termination, whereupon
any such vote or consent shall be deemed, for all purposes, to be null and void ab initio and shall
not be considered or otherwise used in any manner by the Parties in connection with the
Restructuring and this Agreement. If this Agreement has been terminated as to any Consenting
Creditor in accordance with Section 5 hereof at a time when permission of the Bankruptcy Court
shall be required for a change or withdrawal of (or cause to change or withdraw) its vote to accept
the Plan, the Company shall not oppose any attempt by such Consenting Creditor to change or
withdraw (or cause to change or withdraw) such vote at such time.

       (f)     If the Restructuring Transactions are not consummated, nothing herein shall be
construed as a waiver by any Party of any or all of such Party’s rights and the Parties expressly
reserve any and all of their respective rights. Pursuant to Federal Rule of Evidence 408 and any
other applicable rules of evidence, this Agreement and all negotiations relating hereto shall not be
admissible into evidence in any proceeding other than a proceeding to enforce its terms.

       6.      Definitive Documents; Good Faith Cooperation; Further Assurances.

        (a)     Each Party hereby covenants and agrees to cooperate with each other in good faith
in connection with, and shall exercise commercially reasonable efforts with respect to the pursuit,
approval, negotiation, execution, delivery, implementation and consummation of the Plan and the
Restructuring, as well as the negotiation, drafting, execution and delivery of the Definitive
Documents, which will, after the Support Effective Date, remain subject to negotiation and shall,
upon completion, contain terms, conditions, representations, warranties, and covenants consistent
in all material respects with the terms of this Agreement (including the Exhibits and Schedules)


                                                20
       Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 22 of 52




and be in form and substance reasonably satisfactory to the Company and the Requisite Creditors;
provided that the (i) the Backstop Commitment Agreement, the Shareholders Agreement, the
Rights Offering Procedures and any documents related thereto, and the RO Motion and any order
related thereto shall be acceptable to the Backstop Parties and (ii) the Plan, the Confirmation Order,
the Cash Collateral Orders, the Exit Documents, and any assumption or rejection of any Franchise
Document, unexpired lease, or material executory contract pursuant to the Plan or motion, any
such motion and related order, and the settlement or determination of the amount and terms of any
cure associated with any such Franchise Document, unexpired lease, or material executory contract
shall be acceptable to the Requisite Creditors. Notwithstanding the foregoing, the express terms
set forth in the Restructuring Term Sheet with respect to any of the following matters are agreed
by the Parties, and any amendment or modification thereof (including the finalization of the
amount of the Base Offering Amount) shall each be acceptable to the Debtors and holders of
Consenting First Lien Lenders holding at least 62.5% of the aggregate principal amount
outstanding of the First Lien Indebtedness held by all Consenting First Lien Lenders (including
any First Lien Indebtedness subject to an assignment pending settlement to which such Consenting
First Lien Lender is the assignee thereunder): (i) the fixing of the Base Offering Amount; (ii) the
final economic terms and structure of the Rights Offering (including the economics terms in
respect of the Backstop Commitment Agreement), the Rights Offering Shares, the Convertible
Participating Preferred Stock, and the Cash Funded New QB First Lien Take-Back Term Loans
and New QB First Lien Take-Back Term Loans; and (iii) the consent threshold with respect to a
sale transaction(s) in respect of NPCQB’s Wendy’s units.

        (b)     Subject to the terms hereof, each of the Parties shall take such action as may be
reasonably necessary or reasonably requested by the other Parties to carry out the purposes and
intent of this Agreement, including making and filing any required regulatory filings, and shall,
subject to the Company’s “fiduciary out” pursuant to Section 5(c)(ii) hereof, refrain from taking
any action that would frustrate the purposes and intent of this Agreement.

         (c)    The Parties agree, consistent with clause (a) of this Section 6, to negotiate in good
faith the Definitive Documents that are subject to negotiation and completion on the Support
Effective Date and that, notwithstanding anything herein to the contrary, the Definitive
Documents, including any motions or orders related thereto, shall not be inconsistent with this
Agreement and otherwise subject to the applicable consent rights of the Parties set forth herein.
The NPC Parties shall provide to the Consenting Creditor Advisors, and shall direct its employees,
officers, advisors, and other representatives to provide the Consenting Creditor Advisors,
(i) reasonable access (without any material disruption to the conduct of the NPC Parties’
businesses) during normal business hours to the NPC Parties’ books and records; (ii) reasonable
access during normal business hours to the management and advisors of the NPC Parties; and
(iii) reasonable responses to all reasonable diligence requests, in each case, for the purposes of
evaluating the NPC Parties’ assets, liabilities, operations, businesses, finances, strategies,
prospects, and affairs or entry into any of the Restructuring Transactions.

       7.      Representations and Warranties.

        (a)    Each Party, severally and not jointly, represents and warrants to the other Parties
that the following statements are true and correct as of the date hereof (or as of the date a
Consenting Creditor becomes a party hereto):


                                                 21
       Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 23 of 52




                (i)     such Party is validly existing and in good standing under the laws of its
       jurisdiction of incorporation or organization, and has all requisite corporate, partnership,
       limited liability company or similar authority to enter into this Agreement and carry out
       the transactions contemplated hereby and perform its obligations contemplated hereunder;
       and the execution and delivery of this Agreement and the performance of such Party’s
       obligations hereunder have been duly authorized by all necessary corporate, limited
       liability company, partnership or other similar action on its part;

               (ii)     the execution, delivery and performance by such Party of this Agreement
       does not and will not (A) violate any material provision of law, rule or regulation applicable
       to it or any of its subsidiaries or its charter or bylaws (or other similar governing
       documents) or those of any of its subsidiaries, or (B) conflict with, result in a breach of or
       constitute (with due notice or lapse of time or both) a default under any material contractual
       obligation to which it or any of its subsidiaries is a party except, in the case of the Company,
       for the filing of the Chapter 11 Cases;

               (iii)   the execution, delivery and performance by such Party of this Agreement
       does not and will not require any material registration or filing with, consent or approval
       of, or notice to, or other action, with or by, any federal, state or governmental authority or
       regulatory body, except such filings as may be necessary and/or required by the U.S.
       Securities and Exchange Commission or other securities regulatory authorities under
       applicable securities laws; and

               (iv)    this Agreement is the legally valid and binding obligation of such Party,
       enforceable against it in accordance with its terms, except as enforcement may be limited
       by bankruptcy, insolvency, reorganization, moratorium or other similar laws relating to or
       limiting creditors’ rights generally or by equitable principles relating to enforceability or a
       ruling of the Bankruptcy Court.

        (b)     Each Consenting Creditor severally (and not jointly) represents and warrants to the
Company that, as of the date hereof (or as of the date such Consenting Creditor becomes a party
hereto), such Consenting Creditor (i) is or, after taking into account the settlement of any pending
assignments of Indebtedness to which such Consenting Creditor is a party as of the date of this
Agreement, will be the owner of the aggregate principal amount of Indebtedness set forth below
its name on the signature page hereto (or below its name on the signature page of a Joinder
Agreement for any Consenting Creditor that becomes a party hereto after the date hereof) and does
not beneficially own any other Indebtedness, except Indebtedness beneficially owned by such
Consenting Creditor that is managed by personnel subject to an internal ethical wall prohibiting
communications regarding the Company with the personnel managing the Indebtedness set forth
on such Consenting Creditor’s signature page hereto (or on a signature page to a Joinder
Agreement), and/or (ii) has, or after taking into account the settlement of any pending assignments
of Indebtedness to which such Consenting Creditor is a party as of the date of this Agreement, will
have, with respect to the beneficial owners of such Indebtedness, (A) sole investment or voting
discretion with respect thereto, (B) full power and authority to vote on and consent to matters
concerning such Indebtedness or to exchange, assign and transfer such Indebtedness, and (C) full
power and authority to bind or act on the behalf of, such beneficial owners; provided that, to the
extent there are any discrepancies between the amounts set forth on a signature page hereto (or on


                                                 22
       Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 24 of 52




a signature page to a Joinder Agreement) and the amounts set forth on the official registers
maintained by the respective administrative agents for such Indebtedness, such Consenting
Creditor and the Company shall work together in good faith to resolve such discrepancies with the
administrative agents and to update, if necessary, the amounts set forth on the underlying signature
page(s) at issue.

       8.      Disclosure; Publicity.

        The Company shall deliver drafts to Creditor Counsel of any press releases that constitute
disclosure of the existence or terms of the Restructuring, this Agreement or any amendment to the
terms of the Restructuring or this Agreement at least thirty-six (36) hours prior to making any such
disclosure; provided that if delivery of such document is not reasonably practicable under the
circumstances the drafts shall be delivered as soon as otherwise practicable. Except as required
by applicable law or otherwise permitted under the terms of any other agreement between the
Company and any Consenting Creditor, no Party or its advisors shall disclose to any person
(including, for the avoidance of doubt, any other Party), other than advisors to the Company, the
principal amount or percentage of any Indebtedness or any other Claims against, or Interests in,
the Company held by any Consenting Creditor, in each case, without such Consenting Creditor’s
consent; provided, however, that (i) if such disclosure is required by law, subpoena, or other legal
process or regulation, the disclosing Party shall afford the relevant Consenting Creditor a
reasonable opportunity to review and comment in advance of such disclosure and shall take all
reasonable measures to limit such disclosure and (ii) the foregoing shall not prohibit the disclosure
of the aggregate percentage or aggregate principal amount of First Lien Indebtedness or Priority
Term Loan Indebtedness held by all the Consenting Creditors, collectively, on a facility by facility
basis. Any public filing of this Agreement, with the Bankruptcy Court or otherwise, and any
version of this Agreement shared with Consenting Creditors generally shall omit the Indebtedness
holdings of each individual Consenting Creditor as set forth on such Consenting Creditor’s
signature page hereto or shall include such signature page only in redacted form with respect to
the Indebtedness holdings of each Consenting Creditor (provided that the Indebtedness holdings
on such signature page(s) may be filed in unredacted form with the Bankruptcy Court under seal).

       9.      Amendments and Waivers.

        (a)    Other than as set forth in Section 9(b) hereof, this Agreement, including any
exhibits or schedules hereto, may not be modified, amended or supplemented or the performance
of any obligation thereunder waived except with the written consent of NPC International and the
Requisite Creditors;

       (b)     Notwithstanding Section 9(a):

               (i)    any waiver, modification, amendment or supplement to this Section 9 shall
       require the written consent of all of the Parties;

              (ii)    any modification, amendment or change to the definition of “Requisite
       Creditors” shall require the written consent of each Consenting Creditor, as applicable,
       included in such definition;




                                                 23
      Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 25 of 52




               (iii)   any change, modification or amendment to this Agreement or the Plan that
       treats or affects any Consenting Creditor in a manner that is materially and adversely
       disproportionate, on an economic basis, to the manner in which any of the other Consenting
       Creditors are treated (after taking into account each of the Consenting Creditors’ respective
       Claims and Interests and the recoveries contemplated by the Plan (as in effect on the date
       hereof)), or that requires any Consenting Creditor to incur any expenses, liabilities, or other
       obligations, or agree to any commitments, undertakings, concessions, indemnities, or other
       arrangements that could result in expenses, liabilities, or other obligations, shall require the
       written consent of each such affected Consenting Creditor; and

        (c)    In the event that a Consenting Creditor (“Non-Consenting Creditor”) does not
consent to a waiver, change, modification or amendment to this Agreement requiring the consent
of such Non-Consenting Creditor pursuant to Section 9(b)(iii) hereof, but such waiver, change,
modification or amendment receives the consent of Consenting Creditors owning at least 50% of
the outstanding Priority Term Loan Indebtedness or First Lien Indebtedness (as applicable), this
Agreement shall be deemed to have been terminated only as to such Non-Consenting Creditors,
but this Agreement shall continue in full force and effect in respect to all other Consenting
Creditors.

       10.     Effectiveness.

        (a)     This Agreement shall become effective and binding upon each Party on the Support
Effective Date; provided, however, that (i) signature pages executed by Consenting Creditors shall
be delivered to other Consenting Creditors, and (ii) the amount of Priority Term Loan
Indebtedness, First Lien Indebtedness, and Second Lien Indebtedness held by each Consenting
Creditor shall be as set forth on such Consenting Creditor’s signature page hereto, which shall be
delivered to Weil on behalf of the Company and kept strictly confidential by the Company;
provided, however, that the Company may disclose publicly the aggregate principal amounts of
Priority Term Loan Indebtedness, First Lien Indebtedness and Second Lien Indebtedness, set forth
on the signature pages hereto.

        (b)     Exhibits Incorporated by Reference; Conflicts. Each of the exhibits, annexes,
signatures pages, and schedules attached to this Agreement is expressly incorporated and made a
part of this Agreement, and all references to this Agreement shall include such exhibits, annexes,
and schedules. In the event of any inconsistency between this Agreement (without reference to the
exhibits, annexes, and schedules attached to this Agreement) and the exhibits, annexes, and
schedules attached to this Agreement, this Agreement (without reference to the exhibits, annexes,
and schedules thereto) shall govern.

       11.     Governing Law; Jurisdiction; Waiver of Jury Trial.

         (a)    Governing Law; Submission to Jurisdiction; Selection of Forum. This agreement
is to be governed by and construed in accordance with the laws of the State of New York applicable
to contracts made and to be performed in the chosen state, without giving effect to its conflict of
laws principles. Each Party to this Agreement agrees that it shall bring any action or proceeding
in respect of any claim arising out of or related to this Agreement, to the extent possible, in the
Bankruptcy Court, and solely in connection with claims arising under this Agreement: (a)


                                                 24
       Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 26 of 52




irrevocably submits to the exclusive jurisdiction of the Bankruptcy Court; (b) waives any objection
to laying venue in any such action or proceeding in the Bankruptcy Court; and (c) waives any
objection that the Bankruptcy Court is an inconvenient forum or does not have jurisdiction over
any Party to this Agreement.

      (b)   EACH PARTY HEREBY WAIVES, TO THE FULLEST EXTENT PERMITTED
BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY
LEGAL PROCEEDING DIRECTLY OR INDIRECTLY ARISING OUT OF OR RELATING TO
THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY (WHETHER
BASED ON CONTRACT, TORT OR ANY OTHER THEORY). EACH PARTY (I) CERTIFIES
THAT NO REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PARTY HAS
REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD
NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER
AND (II) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HAVE BEEN INDUCED
TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER THINGS, THE MUTUAL
WAIVERS AND CERTIFICATIONS IN THIS SECTION.

       12.     Specific Performance/Remedies.

        It is understood and agreed by the Parties that money damages would not be a sufficient
remedy for any breach of this Agreement by any Party and each non-breaching Party shall be
entitled to specific performance and injunctive or other equitable relief (including attorneys’ fees
and costs) as a remedy of any such breach, without the necessity of proving the inadequacy of
money damages as a remedy, including an order of the Bankruptcy Court requiring any Party to
comply promptly with any of its obligations hereunder. Each Party also agrees that it will not
seek, and will waive any requirement for, the securing or posting of a bond in connection with any
Party seeking or obtaining such relief.

       13.     Survival.

        Notwithstanding the termination of this Agreement pursuant to Section 5 hereof, the
agreements and obligations of the Parties in this Section 13, and Sections 4(a), 5(e), 5(f), 8, 10(b),
11, 12, 15, 16, 17, 18, 19, 20, 21, 22, and 23 hereof (and any defined terms used in any such
Sections) shall survive such termination and shall continue in full force and effect in accordance
with the terms hereof; provided, however, that any liability of a Party for failure to comply with
the terms of this Agreement shall survive such termination.

       14.     Headings.

        The headings of the sections, paragraphs and subsections of this Agreement are inserted
for convenience only and shall not affect the interpretation hereof or, for any purpose, be deemed
a part of this Agreement.

       15.     Successors and Assigns; Severability; Several Obligations.

        This Agreement is intended to bind and inure to the benefit of the Parties and their
respective successors, permitted assigns, heirs, executors, administrators and representatives;
provided, however, that, during the Support Period, nothing contained in this Section 15 shall be


                                                 25
       Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 27 of 52




deemed to permit Transfers of the Indebtedness or claims arising under the Indebtedness other
than in accordance with the express terms of this Agreement. If any provision of this Agreement
(excluding Exhibits and Schedules), or the application of any such provision to any person or entity
or circumstance, shall be held invalid or unenforceable in whole or in part, such invalidity or
unenforceability shall attach only to such provision or part thereof and the remaining part of such
provision hereof and this Agreement shall continue in full force and effect so long as the economic
or legal substance of the transactions contemplated hereby is not affected in any manner adverse
to any Party. Upon any such determination of invalidity, the Parties shall negotiate in good faith
to modify this Agreement so as to effect the original intent of the Parties as closely as possible in
a reasonably acceptable manner in order that the transactions contemplated hereby are
consummated as originally contemplated to the greatest extent possible.

       16.     Relationship Among Parties.

        Notwithstanding anything herein to the contrary, (i) the duties and obligations of the Parties
under this Agreement shall be several, not joint and several; (ii) no Party shall have any
responsibility by virtue of this Agreement for any trading by any other entity; (iii) no prior history,
pattern, or practice of sharing confidences among or between the Parties shall in any way affect or
negate this Agreement; (iv) the Parties hereto acknowledge that this Agreement does not constitute
an agreement, arrangement, or understanding with respect to acting together for the purpose of
acquiring, holding, voting, or disposing of any equity securities of the NPC Entities and the Parties
do not constitute a “group” within the meaning of Rule 13d-5 under the Securities Exchange Act
of 1934, as amended; (v) none of the Consenting Creditors shall have any fiduciary duty, any duty
of trust or confidence in any form, or other duties or responsibilities in any kind or form to each
other, the NPC Entities or any of the NPC Entities’ other lenders or stakeholders, including as a
result of this Agreement or the transactions contemplated herein or in any exhibit hereto; and (vi)
no action taken by any Party pursuant to this Agreement shall be deemed to constitute or to create
a presumption by any of the Parties that the Parties are in any way acting in concert or as a “group.”

       17.     No Third-Party Beneficiaries.

       Unless expressly stated herein, this Agreement shall be solely for the benefit of the Parties
and no other person or entity shall be a third-party beneficiary hereof.

       18.     Prior Negotiations; Entire Agreement.

        This Agreement, including the exhibits and schedules hereto (including the Restructuring
Term Sheet), constitutes the entire agreement of the Parties, and supersedes all other prior
negotiations, with respect to the subject matter hereof and thereof, except that the Parties
acknowledge that any confidentiality agreements (if any) heretofore executed between the
Company and each Consenting Creditor shall continue in full force and effect solely with respect
to any then-continuing obligations thereunder.

       19.     Reservation of Rights.

       (a)     Except as expressly provided in this Agreement or the Restructuring Term Sheet,
nothing herein is intended to, or does, in any manner waive, limit, impair, or restrict the ability of



                                                  26
       Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 28 of 52




any Party to protect and preserve its rights, remedies and interests, including, without limitation,
its claims against any of the other Parties.

         (b)    Without limiting clause (a) of this Section 19 in any way, if this Agreement is
terminated for any reason, nothing shall be construed herein as a waiver by any Party of any or all
of such Party’s rights, remedies, claims, and defenses and the Parties expressly reserve any and all
of their respective rights, remedies, claims and defenses. This Agreement, the Plan, and any related
document shall in no event be construed as or be deemed to be evidence of an admission or
concession on the part of any Party of any claim or fault or liability or damages whatsoever. Each
of the Parties denies any and all wrongdoing or liability of any kind and does not concede any
infirmity in the claims or defenses which it has asserted or could assert.

        (c)    Except as otherwise set forth in this Agreement, the Plan, and any related document,
this Agreement shall in no event be construed to amend, alter, or waive or override any rights,
remedies, obligations, claims, or defenses under (i) that certain First Lien Intercreditor Agreement
dated as of January 21, 2020 by and among the NPC Restaurant Holdings, NPC International, NPC
Operating, NPC Quality, Deutsche Bank Trust Company Americas, Prepetition Collateral Agent,
KKR, as the Authorized Representative (as defined therein) for the Initial Additional First Lien
Secured Parties (as defined therein) and each additional Authorized Representative from time to
time party thereto for the other Additional First Lien Secured Parties of the Series (as defined
therein) with respect to which it is acting in such capacity or (ii) that certain First Lien/Second
Lien Intercreditor Agreement dated as of April 20, 2017 by and among the NPC Restaurant
Holdings, NPC International, NPC Operating, NPC Quality, Deutsche Bank Trust Company
Americas, Prepetition Collateral Agent, Antares, as the Senior Representative (as defined therein)
for the Credit Agreement Secured Parties (as defined therein) and as the Initial Second Priority
Representative (as defined therein) and each additional Representative (as defined therein) from
time to time party thereto for the other Additional First Lien Secured Parties of the Series (as
defined therein) with respect to which it is acting in such capacity.

       20.     Counterparts.

       This Agreement may be executed in several counterparts, each of which shall be deemed
to be an original, and all of which together shall be deemed to be one and the same agreement.
Execution copies of this Agreement may be delivered by electronic mail or otherwise, which shall
be deemed to be an original for the purposes of this paragraph.

       21.     Notices.

       All notices hereunder shall be deemed given if in writing and delivered, if
contemporaneously sent by electronic mail, courier or by registered or certified mail (return receipt
requested) to the following addresses:

                (1)     If to the Company, to:

                NPC Restaurant Holdings I LLC
                4200 W. 115th Street, Suite 200
                Leawood, KS 66211



                                                 27
       Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 29 of 52




                Attention: Eric Koza
                           ekoza@alixpartners.com


                With a copy to:

                Weil, Gotshal & Manges LLP
                767 Fifth Avenue
                New York, NY 10153
                Attention: Ray C. Schrock, P.C.
                           (ray.schrock@weil.com)
                           Kevin Bostel, Esq.
                           (kevin.bostel@weil.com)
                           Natasha Hwangpo, Esq.
                           (natasha.hwangpo@weil.com)


                (2)     If to a Consenting First Lien Lender, Consenting Priority Lender, or a
                transferee thereof, to the addresses set forth below following the Consenting First
                Lien Lender or Consenting Priority Lender’s signature (or as directed by any
                transferee thereof), as the case may be, with copies to:

                Gibson, Dunn & Crutcher LLP
                200 Park Avenue
                New York, NY 10166
                Attention: Scott J. Greenberg, Esq.
                           (sgreenberg@gibsondunn.com)
                           Michael J. Cohen, Esq.
                           (mcohen@gibsondunn.com)

       Any notice given by delivery, mail or courier shall be effective when received. Any notice
given by electronic mail shall be effective upon oral, machine or electronic mail (as applicable)
confirmation of transmission.

       22.     No Solicitation; Representation by Counsel; Adequate Information.

       (a)     This Agreement is not and shall not be deemed to be a solicitation for votes in favor
of the Plan in the Chapter 11 Cases from the Consenting Creditors. The acceptances of the
Consenting Creditors with respect to the Plan will not be solicited until such Consenting Creditors
have received the Disclosure Statement and related ballots and solicitation materials.

        (b)    Each Party acknowledges that it has had an opportunity to receive information from
the Company and that it has been represented by counsel in connection with this Agreement and
the transactions contemplated hereby. Accordingly, any rule of law or any legal decision that
would provide any Party with a defense to the enforcement of the terms of this Agreement against
such Party based upon lack of legal counsel shall have no application and is expressly waived.



                                                28
       Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 30 of 52




         (c)     Each Consenting Creditor acknowledges, agrees and represents to the other Parties
that it (i) has such knowledge and experience in financial and business matters that such
Consenting Creditor is capable of evaluating the merits and risks of the securities to be acquired
by it (if any) pursuant to the Restructuring and understands and is able to bear any economic risks
with such investment, (ii) understands that if it is to acquire any securities, as defined in the
Securities Act, pursuant to the Restructuring, such securities have not been registered under the
Securities Act and that such securities are, to the extent not acquired pursuant to section 1145 of
the Bankruptcy Code, being offered and sold pursuant to an exemption from registration contained
in the Securities Act, based in part upon such Consenting Creditor’s representations contained in
this Agreement and cannot be sold unless subsequently registered under the Securities Act or an
exemption from registration is available, and (iii) is either (A) a “qualified institutional buyer” (as
such term is defined in Rule 144A of the Securities Act) or (B) an institutional “accredited
investor” (as such term is defined in Rule 501(a)(1), (2), (3), (7) or (8) of Regulation D under the
Securities Act).

       23.     Other Support Agreements.

       During the Support Period, no NPC Party shall enter into any other restructuring support
agreement related to a partial or total restructuring of the NPC Entities unless such support
agreement is consistent in all respects with the Restructuring Term Sheet and is reasonably
acceptable to the Requisite Creditors.

                       [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




                                                  29
       Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 31 of 52




        IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed and
delivered by their respective duly authorized officers, solely in their respective capacity as officers
of the undersigned and not in any other capacity, as of the date first set forth above.


                                               NPC PARTIES

                                               NPC Restaurant Holdings I LLC


                                               By:
                                                     Name:
                                                     Title:


                                               NPC Restaurant Holdings II LLC

                                               By:
                                                     Name:
                                                     Title:


                                               NPC Holdings, Inc.

                                               By:
                                                     Name:
                                                     Title:


                                               NPC International Holdings, LLC

                                               By:
                                                     Name:
                                                     Title:


                                               NPC Restaurants Holdings, LLC

                                               By:
                                                     Name:
                                                     Title:




                        SIGNATURE P AGE TO RESTRUCTURING S UPPORT AGREEMENT
Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 32 of 52




                                 NPC International, Inc.

                                 By:
                                       Name:
                                       Title:


                                 NPC Operating Company B, Inc.

                                 By:
                                       Name:
                                       Title:


                                 NPC Quality Burgers, Inc.

                                 By:
                                       Name:
                                       Title:




            SIGNATURE P AGE TO RESTRUCTURING S UPPORT AGREEMENT
Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 33 of 52




                           EXHIBIT A

                     Restructuring Term Sheet
              Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 34 of 52



                                                  NPC International, Inc.

                                               Restructuring Term Sheet
                                            Summary of Terms and Conditions
                                                      July 1, 2020

This restructuring term sheet (the “Restructuring Term Sheet”) sets forth the principal terms of the proposed
restructuring and certain related transactions (the “Restructuring”) concerning NPC International, Inc. and its direct and
indirect affiliates (collectively, the “Company” or the “Debtors”), each of which anticipate filing a voluntary petition
under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) to commence cases (the “Chapter 11
Cases”) in the Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”).

Without limiting the generality of the foregoing, this Restructuring Term Sheet and the undertakings contemplated
herein are subject in all respects to the negotiation, execution, and delivery of the Definitive Documents, 1 as provided
in the Restructuring Support Agreement. This Restructuring Term Sheet is proffered in the nature of a settlement
proposal in furtherance of settlement discussions. Accordingly, this Restructuring Term Sheet and the information
contained herein are entitled to protection from any use or disclosure to any party or person pursuant to Rule 408 of the
Federal Rules of Evidence and any other applicable rule, statute, or doctrine of similar import protecting the use or
disclosure of confidential settlement discussions. Until publicly disclosed in accordance with those certain
confidentiality agreements by and between the Company and each of the members of the Ad Hoc Priority/1L Group
(defined below), as applicable, this Restructuring Term Sheet shall remain strictly confidential and may not be shared
with any other party or person (other than in accordance with such confidentiality agreements) without the consent of
the Company and the Ad Hoc Priority/1L Group.

The regulatory, tax, accounting, and other legal and financial matters and effects related to the Restructuring or any
related restructuring or similar transaction have not, as of the date hereof, been fully evaluated, and such evaluation
may affect the terms and structure of the Restructuring. Any such evaluation may affect the terms and structure of the
Restructuring and/or certain related transactions.

THIS RESTRUCTURING TERM SHEET DOES NOT CONSTITUTE (NOR SHALL IT BE CONSTRUED AS) AN
OFFER WITH RESPECT TO ANY SECURITIES OR A SOLICITATION OF ACCEPTANCES OR REJECTIONS
AS TO ANY PLAN, IT BEING UNDERSTOOD THAT SUCH AN OFFER OR SOLICITATION, IF ANY, WILL
ONLY BE MADE IN COMPLIANCE WITH APPLICABLE LAW.

    Parties
    Debtors                    NPC International, Inc. (“NPCPH”); NPC Restaurant Holdings I LLC; NPC Restaurant
                               Holdings II LLC; NPC Holdings, Inc.; NPC International Holdings, LLC; NPC
                               Restaurant Holdings, LLC; NPC Operating Company B, Inc.; and NPC Quality Burgers,
                               Inc. (“NPCQB”).
    Ad Hoc                     “Ad Hoc Priority/1L Group” means the ad hoc group of Consenting Creditors
    Priority/1L                represented by Gibson, Dunn & Crutcher LLP and Houlihan Lokey Capital, Inc.
    Group
    Summary of Prepetition Obligations and Interests
    Priority Term     “Priority Term Loan Credit Facility” means the super priority term loan facility provided
    Loan Facility     under the Priority Credit Agreement.




1
      Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such terms in the
      Restructuring Support Agreement to which this term sheet is affixed (the “Restructuring Support Agreement”).

                                                            1
WEIL:\97524852\13\65961.0003
             Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 35 of 52



                               As of July 1, 2020, the principal obligations outstanding under the Priority Term Loan
                               Credit Facility totaled approximately $40,482,222.22 (collectively, the “Priority Term
                               Loan Indebtedness”).
                               “Priority Term Loan Secured Claims” refers to all secured claims (including any accrued
                               and unpaid interest, fees, and/or charges) arising from the Priority Term Loan Credit
                               Facility as of the Petition Date.
 First Lien Credit             “First Lien Credit Facility” means the revolving credit and term loan facility provided
 Facility                      under the First Lien Credit Agreement.
                               As of July 1, 2020, (i) the principal revolving obligations outstanding under the First
                               Lien Credit Facility totaled approximately $62,511,834.89 and (ii) the principal term
                               loan obligations outstanding under the First Lien Credit Facility totaled approximately
                               $639,809,193.97 (collectively, the amounts described in clauses (i) and (ii) and any
                               reimbursement obligation in respect of any drawn letters of credit issued under the First
                               Lien Credit Facility, the “First Lien Indebtedness”).
                               Pursuant to the Cash Collateral Orders, the Debtors shall cash collateralize any letters of
                               credit pursuant to arrangements reasonably satisfactory to the Prepetition Agent and the
                               “Required Lenders” (as defined in the First Lien Credit Agreement (at an amount equal
                               to 100% of the face amount thereof) (other than any letters of credit issued to PHLLC
                               (or its any of its affiliates), as beneficiary (the “PHLLC Letters of Credit”), which as of
                               the date hereof totaled approximately $10,000,000).
                               “First Lien Secured Claims” refers to all secured claims (including any accrued and
                               unpaid interest, fees, and/or charges) arising from the First Lien Credit Facility as of the
                               Petition Date.
 Second Lien                   “Second Lien Term Loan Facility” means the term loan facility provided under the
 Term Loan                     Second Lien Credit Agreement.
 Facility
                               As of July 1, 2020, the principal obligations outstanding under the Second Lien Term
                               Loan Facility totaled approximately $160,000,000 (collectively, the “Second Lien
                               Indebtedness”).
                               “Second Lien Claims” refers to all claims (including any accrued and unpaid interest,
                               fees, charges, and/or deficiency claims) arising from the Second Lien Term Loan Facility
                               as of the Petition Date.
 Critical Trade                “Critical Trade Claims” means any prepetition claim held by a creditor that provides
 Claims                        goods necessary for the continued operation of the Debtors and Reorganized Debtors;
                               provided that the holder of such Critical Trade Claim has agreed to continue to provide
                               goods and services to the Debtors and the Reorganized Debtors on terms and conditions
                               reasonably acceptable to the Debtors and the Ad Hoc Priority/1L Group.
 General                       “General Unsecured Claims” means any prepetition, general unsecured claim against one
 Unsecured Claims              or more Debtors, including the Second Lien Claims and any deficiency claims arising
                               from the First Lien Credit Facility (the “First Lien Deficiency Claims”), but excluding
                               the Administrative Expense Claims, any priority unsecured claims, the Professional Fee
                               Claims, the Priority Term Loan Secured Claims, the First Lien Secured Claims, the
                               Critical Trade Claims, the Intercompany Claims, the Subordinated Claims.
 Intercompany                  “Intercompany Claims” means any prepetition claim held by a Debtor against another
 Claims                        Debtor.


                                                                2
WEIL:\97524852\13\65961.0003
             Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 36 of 52




 Intercompany                  “Intercompany Interests” means any interest in a Debtor held by another Debtor.
 Interests
 Subordinated                  “Subordinated Claims” means any claim subject to subordination under section 510(b)
 Claims                        of the Bankruptcy Code.
 Existing Equity               “Existing Equity Interests” means any interest in a Debtor held by a non-Debtor,
 Interests                     including any common stock, preferred stock, warrants, or other ownership interest.
 Holdco Debtor                 For the avoidance of doubt, the treatment under the Plan described in this Restructuring
 Plan Treatment                Term Sheet govern only claims against and interests in the Debtors other than NPC
                               Restaurant Holdings I LLC, NPC Restaurant Holdings II LLC, NPC Holdings, Inc.,
                               and NPC International Holdings, LLC (the “Holdco Debtors”). Any terms under the
                               Plan (or under separate plans or other forms of case disposition) concerning claims
                               against and interests in the Holdco Debtors shall be agreed to among the Debtors and
                               the Requisite Creditors.
 Overview of Restructuring
 Restructuring                 The Restructuring shall be implemented with the support of the Ad Hoc Priority/1L
 Summary                       Group through the Debtors’ (i) commencement of the Chapter 11 Cases on July 1, 2020
                               (the “Petition Date”); (ii) pursuit of the following processes and relief; and (iii) pursuit
                               of such other additional relief as reasonably agreed among the Debtors and the Ad Hoc
                               Priority/1L Group, including:
                                  i.   The NPCQB Sale Process (defined below);
                                 ii.   The NPCPH Sale Process (defined below) in the event the NPCPH Sale Trigger
                                       Event occurs and, subject to the prior written consent of the Ad Hoc Priority/1L
                                       Group, the closure of any Specified PH Store (defined below) not sold in the
                                       NPCPH Sale Process;
                                iii.   Subject to the outcome of (1) the NPCPH Sale Process and (2) the NPCQB Sale
                                       Process, the Debtors shall propose a standalone restructuring to be implemented
                                       pursuant to the Plan, pursuant to which (x) those of the Debtors’ remaining Pizza
                                       Hut and Wendy’s assets that are consented to be included in the Plan by the
                                       Requisite Creditors will be vested in the Reorganized Debtors (defined below);
                                       (y) only such unexpired leases and material executory contracts (including any
                                       Franchise Documents) consented to in writing by the Requisite Creditors shall
                                       be assumed under the Plan and any cure amounts related to arising from such
                                       assumed executory contracts and unexpired leases shall be consented to in
                                       writing by the Requisite Creditors; and (z) any unexpired lease or material
                                       executory contract (including any Franchise Documents) not expressly assumed
                                       pursuant to the Plan, subject to the prior written consent of the Ad Hoc
                                       Priority/1L Group, shall be deemed rejected pursuant to the Plan; and
                                iv.    In the event the Restructuring results in a reorganization around both NPCPH
                                       and NPCQB, each entity shall have a separate capital structure and be directly
                                       owned by the Reorganized NPC Parent.
 NPCPH Sale                    The “NPCPH Sale Trigger Event” shall occur in the event that the Debtors, the Requisite
 Process                       Creditors, and Pizza Hut, LLC (“PHLLC”) have not agreed on the terms of a




                                                                3
WEIL:\97524852\13\65961.0003
             Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 37 of 52



                               comprehensive agreement with respect to the Debtors’ Pizza Hut restaurants by July 24,
                               2020.
                               In the event the NPCPH Sale Trigger Event occurs, the Debtors shall file a motion by no
                               later than July 26, 2020 seeking authorization for entry of an order approving bidding
                               procedures and the sale of certain Pizza Hut restaurants identified on a list to be agreed
                               by the Debtors and the Ad Hoc Priority/1L Group (the “Specified PH Stores”) pursuant
                               to a § 363 sale process (the “NPCPH Sale Process”); such motion and orders shall be in
                               form and substance reasonably acceptable to the Requisite Creditors.
    NPCQB Sale                 “NPCQB Sale Process” means the sale of (i) all or (ii) a portion of NPCQB restaurants
    Process                    pursuant to a § 363 sale process, as determined by the Debtors and the Requisite
                               Creditors.
    Milestones                 The Debtors will implement the Restructuring in accordance with the following
                               milestones (the “Milestones”), with each document, motion or order described below to
                               be subject to the consent rights set forth in the Restructuring Support Agreement and, if
                               such consent rights are unspecified in the Restructuring Support Agreement, such
                               document shall be in form and substance reasonably acceptable to the Requisite
                               Creditors:
                               General Restructuring Milestones: 2
                                   1. Entry of the Interim Cash Collateral Order: Petition Date + 3 days
                                   2. Entry of the Final Cash Collateral Order: Petition Date + 42 days
                                   3. File Plan and Disclosure Statement; motion to approve Disclosure Statement;
                                      and motion to approve Rights Offering Procedures and authorize entry into the
                                      Backstop Commitment Agreement (each defined below) (such motion, the “RO
                                      Motion”): Petition Date + 50 days
                                   4. Disclosure Statement hearing and entry of order approving Disclosure Statement
                                      and entry of order approving RO Motion: Earlier of binding bid deadline in
                                      NPCQB Sales Process and Petition Date + 90 days
                                   5. Commence Plan solicitation: Petition Date + 95 days
                                   6. Confirmation hearing: Petition Date + 125 days
                                   7. Entry of Confirmation Order: Petition Date + 130 days
                                   8. Effective Date: Petition Date + 144 days
                               NPCQB-Specific Milestones:
                                   9. Commence NPCQB sale and marketing process, with contact parties to be
                                      agreed by the Debtors and the Ad Hoc Priority/1L Group: Petition Date + 2 day
                                   10. Non-binding bids due for NPCQB: Petition Date + 40 days
                                   11. If NPCQB bids acceptable to Company and Requisite Creditors, file Bid
                                       Procedures Motion for NPCQB: Petition Date + 50 days
                                   12. Entry of the Bid Procedures Order for NPCQB Bid Procedures: Petition Date +
                                       75 days


2
      Milestones shall be subject to extension to the extent regulatory approvals are necessary.

                                                                4
WEIL:\97524852\13\65961.0003
             Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 38 of 52



                                      13. Binding bids due for NPCQB: Petition Date + 90 days
                                      14. NPCQB auction: Petition Date + 97 days
                                      15. Entry of NPCQB sale order: Petition Date + 102 days
                                      16. NPCQB sale closing: Petition Date + 139 days
                               NPCPH-Specific Milestones:
                                      17. File Bid Procedures Motion for NPCPH: Petition Date + 26 days
                                      18. Commence NPCPH sale and marketing process, with contact parties to be agreed
                                          by the Debtors and the Ad Hoc Priority/1L Group: Petition Date + 28 days
                                      19. File motion to reject NPCPH leases, franchise agreements, Consent and
                                          Amendment Agreement and other related agreements: 3 Petition Date + 28 days
                                      20. Entry of the Bid Procedures Order for NPCPH Bid Procedures: Petition Date +
                                          53 days
                                      21. Non-binding bids due for NPCPH: Petition Date + 69 days
                                      22. Binding bids due for NPCPH: Petition Date + 111 days
                                      23. NPCPH auction: Petition Date + 117 days
                                      24. Entry of NPCPH sale order: Petition Date + 122 days
                                      25. NPCPH sale closing: Petition Date + 139 days
    Consideration for          The aggregate consideration that will be distributed pursuant to the Plan on the Effective
    Plan Distribution          Date will include, as and to the extent applicable:
                                  i.     Any undistributed cash from the Sale Proceeds (defined below);
                                 ii.     The New QB First Lien Take-Back Term Loans, if applicable;
                                iii.     Reorganized Equity;
                                iv.      Shares of Convertible Participating Preferred Stock (defined below) (acquired
                                         pursuant to the Subscription Rights, the Backstop Tranche or the Backstop
                                         Commitment Agreement); and
                                 v.      Cash Funded New QB First Lien Take-Back Term Loans (defined below), if
                                         applicable.
    Use of Cash                The Restructuring will be financed by the consensual use of cash collateral. The Cash
    Collateral                 Collateral Orders shall provide for, among other things, adequate protection in favor of
                               the administrative agents under the Priority Credit Agreement and First Lien Credit
                               Agreement for the benefit of the Priority Lenders and the First Lien Lenders,
                               respectively, to the extent of the diminution in value, if any, of their respective interests
                               in the “Collateral” (as defined in the Priority Credit Agreement and First Lien Credit
                               Agreement), which forms of adequate protection shall include the Adequate Protection
                               Liens (as defined in the Cash Collateral Orders) on all property of the Debtors (including
                               for the avoidance of doubt any securities or other assets that were set aside in one or more
                               rabbi trusts before the Petition Date in connection with the DCP and POWR plans (the
                               “Specified Assets”)), the Adequate Protection Claims (as defined in the Cash Collateral
                               Orders),, adequate protection payments in respect of Priority Term Loan Indebtedness,

3
      The specific agreements that will be subject to the motion shall be subject to the consent of Requisite Creditors.

                                                                 5
WEIL:\97524852\13\65961.0003
             Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 39 of 52



                               and payment of reasonable fees and expenses of the Consenting Creditor Advisors. In
                               respect of the Adequate Protection Liens and Adequate Protection Claims, the Priority
                               Lenders and First Lien Lenders, as applicable, shall be entitled to recover first from the
                               Specified Assets securing the Adequate Protection Liens before being required to seek
                               recourse from any other assets securing the Adequate Protection Liens.
 Definitive                    Any documents contemplated by this Restructuring Term Sheet, including any Definitive
 Documents                     Documents, that remain the subject of negotiation as of the Support Effective Date shall
                               be subject to the rights and obligations set forth in Section 6 of the Restructuring Support
                               Agreement. Failure to reference such rights and obligations as it relates to any document
                               referenced in this Restructuring Term Sheet does not impair such rights and obligations.
 New QB First                  In the event certain NPCQB units are retained under the Plan and vested in NPC Quality
 Lien Take-Back                Burgers, as reorganized (“Reorganized QB”; such event, the “QB Standalone Event”),
 Term Loan                     Reorganized QB shall enter into a new first lien term loan credit facility (“New QB First
 Facility                      Lien Take-Back Term Loan Facility” and the loans thereunder, the “New QB First Lien
                               Take-Back Term Loans”) in the aggregate principal amount of $150,000,000 (the “Base
                               Take-Back Term Loan Amount”), subject to reduction as described in the next
                               paragraph, with a 5 year tenor, a maximum rate of L+475 bps (with a 1% LIBOR floor),
                               and 1% per annum amortization payments (payable on a quarterly basis), secured by
                               substantially all the assets of Reorganized QB as well as the pledge of 100% of the equity
                               in Reorganized QB owned by its direct post-reorganization parent; additional terms and
                               conditions to be agreed by the Debtors and the Requisite Creditors.
                               The Base Take-Back Term Loan Amount shall be reduced by an amount equal to the
                               Reduction Amount, if any, and holders of allowed First Lien Secured Claims will be
                               permitted to commit to fund an amount of New QB First Lien Take-Back Term Loans
                               (“Cash Funded New QB First Lien Take-Back Term Loans”), on a pro rata basis based
                               on the amount of such party’s allowed First Lien Secured Claim, in an aggregate
                               principal amount equal to the Reduction Amount.
 Post-Emergence                It shall be a condition precedent to the Effective Date that any Letters of Credit (as
 Letters of Credit             defined in the First Lien Credit Agreement) that remain outstanding on the Effective Date
                               (including, for the avoidance of doubt, any PHLLC Letters of Credit), shall be (A) cash
                               collateralized by the Debtors pursuant to arrangements reasonably satisfactory to the
                               Prepetition Agent (at an amount equal to 100% of the face amount thereof), (B)
                               terminated, cancelled and returned undrawn to the applicable letter of credit issuer under
                               the First Lien Credit Facility; or (C) otherwise addressed through arrangements
                               acceptable to the Prepetition Agent, the applicable letter of credit issuer under the First
                               Lien Credit Facility, the Debtors and the Requisite Creditors..
 Reorganized                   “Reorganized Equity” shall mean common shares of the parent of the Reorganized
 Equity                        Debtors (“Reorganized NPC Parent”) to be issued on the Effective Date to holders of
                               First Lien Secured Claims and holders of First Lien Secured Claims that subscribe for
                               Rights Offering Shares upon conversion thereof.
 Rights Offering               The Plan shall provide for a new money rights offering (the “Rights Offering”) pursuant
                               to which holders of allowed First Lien Secured Claims will be distributed subscription
                               rights (the “Subscription Rights”) to purchase a number of newly issued shares of
                               convertible participating preferred stock issued by the Reorganized NPC Parent
                               (“Convertible Participating Preferred Stock”). The Convertible Participating Preferred
                               Stock issuable pursuant to the Plan (whether pursuant to the Rights Offering, the
                               Backstop Tranche, or the Backstop Commitment Agreement (in connection with the
                               Backstop Premium or otherwise)) shall have an aggregate investment amount of no less
                                                                6
WEIL:\97524852\13\65961.0003
             Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 40 of 52



                               than $100.0 million and no greater than $200.0 million (the “Base Offering Amount”),
                               will be offered at a 35.0% discount to plan equity value (“Plan Equity Value”), and shall
                               have a maximum initial liquidation preference of no less than $153.8 million and no
                               greater than $307.7 million, excluding premiums and fees.
                               The Convertible Participating Preferred Stock:
                                   •   shall initially be convertible into [●]% 4 of the Reorganized Equity, at the option
                                       of each holder thereof at any time;
                                   •   shall bear a preferred dividend at a rate of 10% per annum on its liquidation
                                       preference (inclusive of all premiums and additional Convertible Participating
                                       Preferred Stock issued as part of the Restructuring), which shall be paid quarterly
                                       and in kind in additional shares of Convertible Participating Preferred Stock;
                                   •   shall be convertible at the option of the holder into shares of Reorganized Equity
                                       at the then current conversion rate, which conversion rate shall be fixed at
                                       issuance, as described below, subject to reasonable and customary anti-dilution
                                       adjustments (which, for the avoidance of doubt, shall not include any “ratchet”
                                       anti-dilution adjustments);
                                   •   upon a liquidation (as is customarily defined), shall be entitled to receive
                                       liquidating distributions out of the assets of Reorganized NPC Parent legally
                                       available for distribution to its stockholders, before any payment or distribution
                                       of any assets of Reorganized NPC Parent shall be made or set apart for holders
                                       of any junior securities, including Reorganized Equity, equal to the greater of (i)
                                       the aggregate liquidation preference as of the date of the liquidation and (ii) the
                                       amount such Holder would have received had such shares of Convertible
                                       Participating Preferred Stock, immediately prior to such liquidation, been
                                       converted into shares of Reorganized Equity;
                                   •   shall have an early redemption premium (the “Convertible Preferred Redemption
                                       Premium”) owed and payable upon a change of control, merger, sale of all or
                                       substantially all assets, an acceleration, default, bankruptcy, insolvency,
                                       redemption or prepayment whether mandatory or at the option of Reorganized
                                       NPC Parent; “Convertible Preferred Redemption Premium” means, as of any
                                       date on which Convertible Participating Preferred Stock is redeemed, the greater
                                       of (i) 1.0% of the liquidation preference of such Convertible Participating
                                       Preferred Stock (inclusive of all fees, premiums and additional Convertible
                                       Participating Preferred Stock issued as part of the Restructuring) and (ii) the
                                       excess of (A) the present value at such date of redemption of (1) the liquidation
                                       preference of such Convertible Participating Preferred Stock (inclusive of all
                                       fees, premiums and additional Convertible Participating Preferred Stock issued
                                       as part of the Restructuring), plus (2) all remaining required dividends due on
                                       the such Convertible Participating Preferred Stock through the seventh (7th)
                                       anniversary of the Effective Date, assuming such dividends were paid in cash,
                                       computed using a discount rate equal to the applicable treasury rate plus 50 basis
                                       points, over (B) the liquidation preference of such Convertible Participating

4
     To be equal to (a) the total initial liquidation preference of the Convertible Participating Preferred Stock, including the
     Backstop Premium (as defined below) (the “Aggregate New Preferred Stock Initial Liquidation Preference”), divided by
     (b) the sum of: (i) such Aggregate New Preferred Stock Initial Liquidation Preference, plus (ii) the value of the
     Reorganized Equity based on the total enterprise value set forth in the Plan.

                                                                7
WEIL:\97524852\13\65961.0003
             Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 41 of 52



                                       Preferred Stock (inclusive of all fees, premiums and additional Convertible
                                       Participating Preferred Stock issued as part of the Restructuring); and
                                   •   shall contain such other terms which are customary and reasonably acceptable
                                       to each of the Debtors and the Backstop Parties.
                               “Rights Offering Shares” shall mean the shares of Convertible Participating Preferred
                               Stock that are offered in the Rights Offering, including any shares reserved for the
                               Backstop Tranche which are not purchased pursuant thereto.
                               In the event that the QB Standalone Event occurs, the Base Offering Amount shall be
                               reduced by up to 33.3% (the total U.S. dollar amount of such percentage reduction, the
                               “Reduction Amount”) (which shall reduce the amount of shares available for purchase
                               in the Backstop Tranche ratably with all other Rights Offering Shares).
                               The offering of Rights Offering Shares will be fully backstopped by certain members of
                               the Ad Hoc Priority/1L Group (the “Backstop Parties”) and any other parties agreed to
                               by the Backstop Parties, and the Rights Offering will be conducted pursuant to customary
                               and reasonable procedures agreed to by the Debtors and the Backstop Parties (the “Rights
                               Offering Procedures”) and a Backstop Commitment Agreement (the “Backstop
                               Commitment Agreement”), which shall (x) provide for, among other things, a backstop
                               commitment premium equal to 8.0% of the Base Offering Amount (the “Backstop
                               Premium”) payable in Rights Offering Shares (calculated to reflect a 35% discount to
                               Plan Equity Value) to the Backstop Parties on the Effective Date (or, as set forth in the
                               Backstop Commitment Agreement, in cash if the Effective Date does not occur) and
                               (y) be in form and substance acceptable to the Debtors and the Backstop Parties (to be
                               filed as part of the Plan Supplement). 5 The Backstop Commitment Agreement shall
                               provide that, in the event that the QB Standalone Event occurs and the Base Offering
                               Amount is reduced, the Backstop Parties shall be committed to fund in cash, on the terms
                               set forth in the Backstop Commitment Agreement, an amount of Cash Funded New QB
                               First Lien Take-Back Term Loans equal to Reduction Amount, provided that no
                               additional Backstop Premium shall be payable in respect thereof. 6
                               The Backstop Commitment Agreement shall permit any Backstop Party to fund its
                               backstop commitment, and the Rights Offering Procedures shall provide that any
                               recipient of Subscription Rights may elect to fund the exercise of its Subscription Rights,
                               in each case, in an cashless manner from any distributions of cash such Backstop Party
                               (or its designee) or recipient (as applicable) is entitled to receive pursuant to the Plan. In
                               addition, the Backstop Commitment Agreement shall provide that assignments of
                               backstop commitments by any Backstop Party (other than to an affiliate) shall be subject
                               to a right of first refusal in favor of the other Backstop Parties.
                               In addition, without limiting the obligations of the Backstop Parties to fund the full Base
                               Offering Amount, the Backstop Parties will have the option to purchase a number of
                               shares of Convertible Participating Preferred Stock such that the aggregate purchase
                               price therefor would be equal to 50% of the Base Offering Amount (the “Backstop
                               Tranche”) on a pro rata basis based on their backstop commitments. Any rights not
                               exercised by the Backstop Parties with respect to the Backstop Tranche shall be added

5
     “Plan Supplement” means a supplemental appendix to the Plan to be filed with the Bankruptcy Court containing, among
     other things, forms of applicable documents, schedules, and exhibits to the Plan.
6
     The Backstop Parties shall be entitled to allocate additional Convertible Participating Preferred Stock to Backstop Parties
     who commit to backstop the Cash Funded New QB First Lien Take-Back Term Loans.

                                                                 8
WEIL:\97524852\13\65961.0003
             Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 42 of 52



                               to the participation rights in the Rights Offering distributed to holders of First Lien
                               Secured Claims as set forth in this Restructuring Term Sheet.
                               In accordance with the Restructuring Support Agreement, the express terms set forth in
                               this Restructuring Term Sheet with respect to any of the following matters are agreed by
                               the Parties, and any amendment or modification thereof (including the finalization of the
                               amount of the Base Offering Amount) shall each be acceptable to the Debtors and holders
                               of Consenting First Lien Lenders holding at least 62.5% of the aggregate principal
                               amount outstanding of the First Lien Indebtedness held by all Consenting First Lien
                               Lenders (including any First Lien Indebtedness subject to an assignment pending
                               settlement to which such Consenting First Lien Lender is the assignee thereunder): (i)
                               the fixing of the Base Offering Amount; (ii) the final economic terms and structure of
                               the Rights Offering (including the economics terms in respect of the Backstop
                               Commitment Agreement), the Rights Offering Shares, the Convertible Participating
                               Preferred Stock, and the Cash Funded New QB First Lien Take-Back Term Loans and
                               New QB First Lien Take-Back Term Loans; and (iii) the consent threshold with respect
                               to a sale transaction(s) in respect of NPCQB’s Wendy’s units.
        Treatment of Claims
    Administrative,    On the Effective Date, or as soon as reasonably practicable thereafter, except to the extent
    Adequate           that a holder of an Allowed 7 Administrative Expense Claim, 8 Allowed Adequate
    Protection and     Protection Claim, Allowed priority tax claim, or Allowed other priority claim agrees to
    Priority Claims    a less favorable treatment, each holder of an Allowed Administrative Expense Claim,
                       Allowed Adequate Protection Claim, Allowed priority tax claim, or Allowed other
    Unimpaired –
                       priority claim will receive, in full and final satisfaction of such Claim, cash in an amount
    Unclassified and
                       equal to such Allowed claim on the Effective Date or as soon as practicable thereafter or
    Non-Voting
                       such other treatment consistent with the provisions of section 1129(a)(9) of the
                       Bankruptcy Code (including delivery to a holder of an Adequate Protection Claim of
                       property securing Adequate Protection Liens securing such Adequate Protection Claim,
                       solely to such holder agrees to such treatment and the specific property to be delivered
                       in connection therewith).
    Fee Claims                 All estate-retained professionals shall (i) file, on or before the date that is thirty (30) days
                               after the Effective Date, their respective applications for final allowances of
    Unimpaired –
                               compensation for services rendered, and reimbursement of expenses incurred,

7
      “Allowed” means with reference to any Claim or Interest, (i) any Claim or Interest arising on or before the Effective
      Date (a) as to which no objection to allowance has been interposed within the time period set forth in the Plan, or (b) as
      to which any objection has been determined by a final order of the Bankruptcy Court to the extent such objection is
      determined in favor of the respective holder, (ii) any Claim or Interest as to which the liability of the Debtors and the
      amount thereof are determined by a final order of a court of competent jurisdiction other than the Bankruptcy Court,
      (iii) any Claim or Interest expressly Allowed under the Plan, or (iv) any Claim that is listed in the Debtors’ Schedules as
      liquidated, non-contingent, and undisputed; provided, that, notwithstanding the foregoing, the Debtors will retain all
      claims and defenses with respect to Allowed Claims that are reinstated or otherwise unimpaired pursuant to the Plan.
8
      “Administrative Expense Claim” means any Claim for payment of an administrative expense of a kind specified in
      section 503(b) of the Bankruptcy Code and entitled to priority pursuant to section 507(a)(1) of the Bankruptcy Code,
      including (i) the actual and necessary costs and expenses incurred on or after the Commencement Date and through the
      Effective Date of preserving the Debtors’ estates and operating the Debtors’ businesses (such as wages, salaries, or
      commissions for service rendered after the Commencement Date, and payments for goods and other services), (ii) Fee
      Claims, (iii) all fees and charges assessed against the Debtors’ estates pursuant to sections 1911 through 1930 of chapter
      123 of the title 28 of the United States Code, 28 U.S.C. §§1-1401, and (iv) all Allowed Claims that are to be treated as
      Administrative Expense Claims pursuant to a final order of the Bankruptcy Court under section 546(c)(2)(A) of the
      Bankruptcy Code.

                                                                  9
WEIL:\97524852\13\65961.0003
             Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 43 of 52



 Unclassified and              postpetition and (ii) be paid in full, in Cash, in such amounts as are Allowed by the
 Non-Voting                    Bankruptcy Court or authorized to be paid in accordance with the order(s) allowing any
                               such postpetition, estate-retained professional fee and expense claim (each, a “Fee
                               Claim”); provided, however, that any payment in respect of a final fee application shall
                               be made after the entry of a final order approving such application and delineating the
                               unpaid portion of fees and expenses with respect to such estate-retained professional.
                               The Debtors are authorized to pay compensation for professional services rendered and
                               reimbursement of expenses incurred after the Effective Date in the ordinary course and
                               without the need for Bankruptcy Court approval.
                               After the entry of the Confirmation Order and on or before the Effective Date, the
                               Debtors shall establish an escrow account to pay fees and expenses of estate-retained
                               professionals (the “Fee Escrow Account”). On the Effective Date, the Debtors shall fund
                               the Fee Escrow Account with cash equal to the estate-retained professionals’ good faith
                               estimates of their actual, unpaid Fee Claims as of the Effective Date. Funds held in the
                               Fee Escrow Account shall not be considered property of the Debtors’ estates or property
                               of the Reorganized Debtors, but shall revert to the Reorganized Debtors only after all
                               Fee Claims Allowed by the Bankruptcy Court have been irrevocably paid in full. The
                               Fee Escrow Account shall be held in trust for estate-retained professionals and for no
                               other parties until all Fee Claims Allowed by the Bankruptcy Court have been paid in
                               full. To the extent surplus funds remain in the Fee Escrow Account after all Fee Claims
                               have been resolved by the Court or settled, such funds shall be returned to the
                               Reorganized Debtors.
 Priority Term                 To the extent Priority Term Loan Facility Claims remain outstanding on the Effective
 Loan Facility                 Date, except to the extent that a holder of an Allowed Priority Term Loan Facility Claim
 Claims                        agrees to less favorable treatment, the principal amount outstanding of loans extended
                               under the Priority Term Loan Facility shall be repaid in full in cash, including cash from
 Unimpaired, Non-
                               Sale Proceeds. Accrued interest and other obligations under the Priority Term Loan
 Voting
                               Facility shall also be paid in full in cash on the Effective Date.
 First Lien                    On and from the Effective Date, in full and final satisfaction, release, and discharge of
 Secured Claims                the First Lien Secured Claims, except to the extent that a holder of an Allowed First Lien
                               Secured Claim agrees to less favorable treatment, the holders of First Lien Secured
 Impaired, Voting
                               Claims (or the permitted assigns and designees of such holders) shall receive their pro
                               rata share of:
                                  i.   New QB First Lien Take-Back Term Loans (in the event the QB Standalone
                                       Event occurs);
                                 ii.   100% of the Reorganized Equity, subject to dilution by the Rights Offering
                                       Shares, the Backstop Premium, and the Management Incentive Plan; provided
                                       that any such holder that is deemed ineligible to hold such Reorganized Equity
                                       pursuant to the Debtors’ franchise documents due to competitive considerations
                                       shall receive, in lieu of such Reorganized Equity, an additional amount of other
                                       forms of Plan consideration distributed to holders of First Lien Secured Claims
                                       that is reasonably equivalent to the value of such Reorganized Equity that such
                                       holder would have been entitled to receive, as determined by the Debtors, subject
                                       to the consent of the Requisite Creditors;
                                iii.   Participation rights in the Rights Offering (if applicable); and
                                iv.    Cash in an amount equal to any net sale proceeds (the “Sale Proceeds”) received
                                       by the applicable Debtor from the NPCPH and/or NPCQB asset sales (if

                                                               10
WEIL:\97524852\13\65961.0003
             Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 44 of 52



                                       applicable) not previously distributed pursuant to one or more orders of the
                                       Bankruptcy Court.
 General                       On the Effective Date, General Unsecured Claims shall be entitled to a treatment to be
 Unsecured Claims              determined as between the Debtors and the Requisite Creditors.
 Impaired, Voting
 Intercompany                  Unless otherwise provided for under the Plan, each Intercompany Claim will either be
 Claims                        reinstated or cancelled and released at the option of the Debtors with the reasonable
                               consent of the Requisite Creditors; provided, that no distributions shall be made on
                               account of such Intercompany Claims on the Effective Date.
 Intercompany                  Intercompany Interests shall receive no recovery or distribution and be reinstated solely
 Interests                     to maintain the Debtors’ corporate structure, as necessary.
 Subordinated                  Any Claim or Interest subject to subordination pursuant to section 510 of the Bankruptcy
 Claims                        Code shall be cancelled and deemed to reject the Plan, and the holders of any such Claims
                               or Interests will not receive any recovery with respect thereto under the Plan.
 Existing Equity               All Existing Equity Interests will be cancelled, released, and extinguished, and will be of
 Interests                     no further force or effect and no Holder of Existing Equity Interests shall be entitled to
                               any recovery or distribution under the Plan on account of such Interests.
 Impaired, Non-
 Voting, and
 Deemed to Reject
     Miscellaneous
 Key Employee      The Debtors, with the support of the Ad Hoc Priority/1L Group, shall file a motion to
 Incentive Plan    approve a key employee incentive plan (“KEIP”) for the benefit of certain key employees
                   of the Company (the “KEIP Participants”). The maximum amount available to be paid
                   as awards to the KEIP Participants shall be $3.5 million. Such awards shall be subject to
                   the achievement of performance metrics and sale proceeds targets (as applicable), which
                   targets and other KEIP terms shall be determined by the Debtors and subject to the
                   reasonable consent of the Requisite Creditors.
 Key Employee                  The Debtors, with the support of the Ad Hoc Priority/1L Group, shall file a motion to
 Retention Plan                approve the key employee retention plan (“KERP”) for the benefit of certain key
                               employees of the Company, in an amount not to exceed $2 million. Terms of the KERP
                               shall be determined by the Debtors and subject to the reasonable consent of the Requisite
                               Creditors.
 Management                    Following the Effective Date, the Board of Directors of Reorganized NPC Parent
 Incentive Plan                (the “New Board”) will adopt a post-Restructuring equity incentive plan
                               (the “Management Incentive Plan”), under which up to 10% of the Reorganized Equity
                               will be reserved for issuance as awards thereunder; the terms and conditions of such
                               Management Incentive Plan shall be determined by the New Board.
 Compensation                  All material employee compensation and benefit plans (including all management
 and Benefit Plans             employment agreements and all qualified and non-qualified plans (DCP/POWR) in
                               effect as of the Petition Date shall be assumed under the Plan; provided that obligations
                               arising under the non-qualified plans (DCP/POWR) shall be satisfied in an amount equal
                               to any Allowed Adequate Protection Claim solely in the event the Adequate Protection
                               Liens are secured by the Specified Assets and are subject to the terms described above
                               in “Use of Cash Collateral.”


                                                               11
WEIL:\97524852\13\65961.0003
             Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 45 of 52




    Tax Attributes             To the extent reasonably practicable, the Restructuring shall be structured in a manner
                               which minimizes any current cash taxes payable by the Debtors and the Consenting
                               Creditors, if any, as a result of the consummation of the Restructuring. To the extent
                               reasonably practicable, the terms of the Plan shall be structured to maximize the
                               favorable tax attributes of the Reorganized Debtors going forward. Any corporate
                               restructuring of the Reorganized Debtors (including any separate entity providing shared
                               services to the other Reorganized Debtors) or similar transactions not in the ordinary
                               course and not otherwise contemplated by this term sheet may not be implemented in a
                               manner that would materially adversely affect the Requisite Creditors without their
                               consent.
    Indemnification            The Company’s indemnification provisions currently in place (whether in the bylaws,
                               certificates of incorporation (or other equivalent governing documents), or employment
                               contracts) for current and former directors, officers, employees, managing agents, and
                               professionals and their respective affiliates will be assumed by the Company and not
                               modified in any way by the Restructuring through the Plan or the transactions
                               contemplated thereby and will continue as obligations of the Reorganized Debtors. For
                               the avoidance of doubt, the Reorganized Debtors shall not retain any ongoing obligations
                               or liabilities arising from or related to any agreements or arrangements to which the
                               Sponsor (as defined in the First Lien Credit Agreement) or their principals or affiliates
                               are a party with any other party.
    Transfer                   No restrictions on the transfer of any Reorganized Equity or Convertible Participating
    Restrictions               Preferred Stock, subject to applicable law (including securities laws), any restrictions in
                               the Shareholders Agreement (as defined below), and to maintain the Reorganized NPC
                               Parent’s status as a company not required to prepare and file reports under the Securities
                               Exchange Act of 1934, as amended.
    Exemption from             The Reorganized Equity, Subscription Rights and the shares of Convertible Participating
    SEC Registration           Preferred Stock shall be exempt from registration under the Securities Act of 1933, as
                               amended. 9
    Treatment of               On the Effective Date, except as otherwise determined by the Debtors, each of the
    Executory                  Debtors’ executory contracts and unexpired leases not previously assumed or rejected
    Contracts and              pursuant to an order of the Bankruptcy Court shall be deemed rejected in accordance
    Unexpired Leases           with the provisions of Bankruptcy Code sections 365 and 1123. Any executory contracts
                               and unexpired leases proposed to be assumed or rejected by the Debtors or Reorganized
                               Debtors during the Chapter 11 Cases or pursuant to the Plan (as applicable), including
                               any associated cure amounts, shall be subject to the consent of the Requisite Creditors,
                               and the Debtors and the Requisite Creditors shall agree prior to solicitation of the Plan
                               on proposed cure amounts with respect to executory contracts and unexpired leases that
                               may be subject to assumption under the Plan and on the specific proposed cure amounts
                               that must be agreed with the applicable contract or lease counterparty or determined by
                               the Bankruptcy Court before confirmation of the Plan (such cure amounts, the “Specified
                               Cure Amounts”). For the avoidance of doubt, cure costs may be paid in installments
                               following the Effective Date in a manner consistent with the Bankruptcy Code.




9
      It is expected that the securities issuances will be exempt from registration on the basis of §1145, Reg D and/or §4(a).
      Available exemptions to be determined once plan equity value range is available.

                                                               12
WEIL:\97524852\13\65961.0003
             Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 46 of 52




 Restructuring                 The Debtors shall pay, or cause to be paid, all reasonable and documented fees and
 Fees and                      out-of-pocket expenses (including estimated fees and expenses, as applicable) for which
 Expenses                      invoices are furnished by the Consenting Creditor Advisors, in each case, in accordance
                               with the terms of their applicable engagement or reimbursement letters
                               (the “Restructuring Fees and Expenses”) (i) at least one (1) Business Day prior to the
                               Petition Date, (ii) in accordance with the Restructuring Support Agreement, and (iii) on
                               or prior to the Effective Date.
                               As a condition precedent to the occurrence of the Effective Date, the Debtors shall pay,
                               or cause to be paid, all Restructuring Fees and Expenses, including those fees and
                               expenses estimated to be incurred through the Effective Date to the extent invoiced at
                               least one (1) Business Days before the Effective Date.
                               The Consenting Creditors agree that they shall not object to the reasonable fees and
                               expenses of the Debtors’ advisors.
 Conditions                    The following shall be conditions to the Effective Date (collectively, the “Conditions
 Precedent to the              Precedent”):
 Effective Date
                                   (a) the Bankruptcy Court shall have entered the Confirmation Order, which shall:
                                           (i) be in form and substance acceptable to the Requisite Creditors and
                                               consistent with the Restructuring Support Agreement and the
                                               Restructuring Term Sheet;
                                           (ii) authorize the Debtors to take all actions necessary to enter into,
                                                implement, and consummate the contracts, instruments, releases, leases,
                                                and other agreements or documents created in connection with the Plan;
                                           (iii) decree that the provisions in the Confirmation Order and the Plan are
                                                 nonseverable and mutually dependent;
                                           (iv) authorize the Debtors, as applicable/necessary, to: (a) implement the
                                                Restructuring Transactions, including the Rights Offering; (b) issue the
                                                Reorganized Equity pursuant to the exemption from registration under
                                                the Securities Act provided by section 1145 of the Bankruptcy Code or
                                                other exemption from such registration or pursuant to one or more
                                                registration statements; 10 (c) make all distributions and issuances as
                                                required under the Plan, including any undistributed cash from the Sale
                                                Proceeds, the New QB First Lien Take-Back Term Loans, if applicable,
                                                Reorganized Equity, and Subscription Rights to participate in the Rights
                                                Offering for Rights Offering Shares; (d) enter into any agreements,
                                                transactions, and sales of property as set forth in the Plan Supplement;
                                                and (e) assume or reject (as applicable) any Franchise Documents,
                                                unexpired leases, or material executory contracts that have been
                                                consented to in writing by the Requisite Creditors, and provide for the
                                                payment of such cure amounts related to or arising from such Franchise
                                                Document, unexpired lease or material executory contract , which cure
                                                amounts have been consented to in writing by the Requisite Creditors;
                                           (v) authorize the implementation of the Plan in accordance with its terms;
                                               and


10
     Exemption to be determined.

                                                              13
WEIL:\97524852\13\65961.0003
             Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 47 of 52



                                       (vi) provide that, pursuant to section 1146 of the Bankruptcy Code, the
                                            assignment or surrender of any lease or sublease, and the delivery of any
                                            deed or other instrument or transfer order, in furtherance of, or in
                                            connection with the Plan, including any deeds, bills of sale, or
                                            assignments executed in connection with any disposition or transfer of
                                            assets contemplated under the Plan, shall not be subject to any stamp,
                                            real estate transfer, mortgage recording, or other similar tax;
                               (b) the Debtors shall have obtained all authorizations, consents, regulatory
                                   approvals, rulings, or documents that are necessary to implement and effectuate
                                   the Plan;
                               (c) the final version of the Plan Supplement and all of the schedules, documents,
                                   and exhibits contained therein shall have been filed in a manner consistent in all
                                   material respects with the Restructuring Support Agreement, this Restructuring
                                   Term Sheet, and the Plan;
                               (d) the Restructuring Support Agreement shall be in full force and effect and shall
                                   not have been terminated;
                               (e) the Final Cash Collateral Order shall be in full force and effect and shall not have
                                   been terminated;
                               (f) the Bankruptcy Court shall have entered the RO Order and the RO Order shall
                                   not have been terminated;
                               (g) the Backstop Commitment Agreement shall be in full force and effect and shall
                                   have not have been terminated;
                               (h) the Rights Offering shall have been consummated and shall have been conducted
                                   in accordance with the Rights Offering Procedures and the Plan;
                               (i) all Letters of Credit outstanding under the First Lien Credit Agreement shall
                                   have been treated in a manner consistent with this Restructuring Term Sheet;
                               (j) the documentation related to the New QB First Lien Take-Back Term Loan
                                   Facility, if applicable, shall have been duly executed and delivered by all of the
                                   entities that are parties thereto and all conditions precedent (other than any
                                   conditions related to the occurrence of the Effective Date) to the effectiveness of
                                   the New QB First Lien Take-Back Term Loan Facility shall have been satisfied
                                   or duly waived in writing in accordance with the terms of each of the New QB
                                   First Lien Take-Back Term Loan Facility and the closing of the New QB First
                                   Lien Take-Back Term Loan Facility shall have occurred;
                               (k) all actions, documents, certificates, and agreements necessary to implement the
                                   Plan (including any documents contained in the Plan Supplement) shall have
                                   been effected or executed and delivered to the required parties and, to the extent
                                   required, filed with the applicable governmental units, in accordance with
                                   applicable laws and shall comply with the consent rights set forth in the
                                   Restructuring Support Agreement and this Restructuring Term Sheet;
                               (l) all Specified Cure Amounts shall have been agreed with the applicable Franchise
                                   Document, unexpired lease or material contract counterparty or determined by
                                   the Bankruptcy Court and such agreed or determined Specified Cure Amount
                                   shall be acceptable to the Requisite Creditors;


                                                            14
WEIL:\97524852\13\65961.0003
             Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 48 of 52



                                   (m) the Debtors shall have paid, caused to be paid, or funded into escrow for payment
                                       all Restructuring Fees and Expenses, including those fees and expenses
                                       estimated to be incurred through and following the Effective Date, as applicable;
                                       and
                                   (n) the Debtors shall have implemented the Restructuring Transactions and all
                                       transactions contemplated in this Restructuring Term Sheet in a manner
                                       consistent with the Restructuring Support Agreement, this Restructuring Term
                                       Sheet, and the Plan.
 Waiver of                     The Debtors, with the prior consent of the Requisite Creditors and the Backstop Parties,
 Conditions                    as applicable, may waive any one or more of the Conditions Precedent to the Effective
 Precedent to the              Date.
 Effective Date
 Governance                    The New Board shall be comprised of five (or seven in the event the QB Standalone
 (Board                        Event occurs) individuals; the allocation of designation rights with respect to the
 Composition &                 selection of such individuals to be determined by the Ad Hoc Priority/1L Group in its
 Voting)                       sole discretion. On the Effective Date, holders of the Reorganized Equity and the Rights
                               Offering Shares will become party to the shareholders agreement, which shall be in form
                               and substance acceptable to the Requisite Creditors (the “Shareholders Agreement”).
 Retention of                  The Plan will provide for a broad retention of jurisdiction by the Bankruptcy Court for
 Jurisdiction                  (a) resolution of claims, (b) allowance of compensation and expenses for pre-Effective
                               Date services, (c) resolution of motions, adversary proceedings or other contested
                               matters, (d) entering such orders as necessary to implement or consummate the Plan and
                               any related documents or agreements, and (e) other purposes.
                                                    Releases and Exculpations
 Releases by                   As of the Plan Effective Date, except for the rights and remedies that remain in effect
 Debtors                       from and after the Plan Effective Date to enforce the Plan and the obligations
                               contemplated by the Definitive Documents and the documents in the Plan Supplement
                               or as otherwise provided in any order of the Bankruptcy Court, on and after the Plan
                               Effective Date, the Released Parties will be deemed conclusively, absolutely,
                               unconditionally, irrevocably, and forever released and discharged, by and on behalf of
                               the Debtors, the Reorganized Debtors, and the Estates, in each case on behalf of
                               themselves and their respective successors, assigns, and representatives and any and all
                               other Persons that may purport to assert any Cause of Action derivatively, by or through
                               the foregoing Persons, from any and all Claims and Causes of Action (including any
                               derivative claims, asserted or assertable on behalf of the Debtors, the Reorganized
                               Debtors, or their Estates), whether liquidated or unliquidated, fixed or contingent,
                               matured or unmatured, known or unknown, foreseen or unforeseen, existing or
                               hereinafter arising, in law, equity, contract, tort, or otherwise, by statute, violations of
                               federal or state securities laws or otherwise that the Debtors, the Reorganized Debtors,
                               the Estates, or their affiliates would have been legally entitled to assert in their own right
                               (whether individually or collectively) or on behalf of the holder of any Claim or Interest
                               or other Person, based on or relating to, or in any manner arising from, in whole or in
                               part, the Debtors, the Chapter 11 Cases, the Restructuring, the purchase, sale, or
                               rescission of the purchase or sale of any security of the Debtors or the Reorganized
                               Debtors, the subject matter of, or the transactions or events giving rise to, any Claim or
                               Interest that is treated in the Plan, the business or contractual arrangements between any
                               Debtor and any Released Party, the restructuring of Claims and Interests before or during
                               the Chapter 11 Cases, the negotiation, formulation, preparation, or consummation of the
                                                                 15
WEIL:\97524852\13\65961.0003
             Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 49 of 52



                               Plan, the Restructuring Support Agreement, the Definitive Documents and the
                               documents in the Plan Supplement or related agreements, instruments, or other
                               documents relating thereto, or the solicitation of votes with respect to the Plan, in all
                               cases based upon any act or omission, transaction, agreement, event, or other occurrence
                               taking place on or before the Plan Effective Date (such Claims and Causes of Action, the
                               “Debtor Claims”). Notwithstanding anything to the contrary in the foregoing, the
                               releases set forth above do not release (a) any post-Plan Effective Date obligations of any
                               party or entity under the Plan, any transaction thereunder, or any document, instrument,
                               or agreement (including those set forth in the Plan Supplement) executed to implement
                               the Plan or (b) any individual from any claim related to an act or omission that is
                               determined by a court of competent jurisdiction to have constituted a criminal act,
                               intentional fraud, gross negligence or willful misconduct. Notwithstanding anything else
                               herein, the holders of First Lien Secured Claims shall not pursue, prosecute or assert any
                               of the Debtor Claims, but shall not waive any entitlement, on account of any First Lien
                               Deficiency Claims, to any recovery resulting from of any party’s pursuit, prosecution,
                               resolution, settlement or adjudication of any Debtor Claims retained by any entity under
                               or pursuant to the Plan, if any.
 Released Parties              Means collectively, in each case, solely in their capacities as such: (i) the Debtors; (ii) the
                               Reorganized Debtors; (iii) the Consenting Creditors; (iv) the Sponsors, 11 and (v) with
                               respect to each of the foregoing entities in clauses (i) through (iv), all Related Parties.
 Releases by                   As of the Plan Effective Date, except for the rights that remain in effect from and after
 Holders of Claims             the Plan Effective Date to enforce the Plan, the Definitive Documents, and the documents
 and Interests                 in the Plan Supplement and the obligations contemplated by the Restructuring, on and
                               after the Plan Effective Date, the Released Parties will be deemed conclusively,
                               absolutely, unconditionally, irrevocably, and forever released and discharged, to the
                               maximum extent permitted by law, by the Releasing Parties, in each case from any and
                               all Claims and Causes of Action whatsoever (including any derivative claims, asserted
                               or assertable on behalf of the Debtors, the Reorganized Debtors, or their Estates; such
                               Claims or Causes of Action, the “Additional Debtor Claims”)), whether liquidated or
                               unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen
                               or unforeseen, asserted or unasserted, accrued or unaccrued, existing or hereinafter
                               arising, whether in law or equity, whether sounding in tort or contract, whether arising
                               under federal or state statutory or common law, or any other applicable international,
                               foreign, or domestic law, rule, statute, regulation, treaty, right, duty, requirement or
                               otherwise, that such holders or their estates, affiliates, heirs, executors, administrators,
                               successors, assigns, managers, accountants, attorneys, representatives, consultants,
                               agents, and any other Persons claiming under or through them would have been legally
                               entitled to assert in their own right (whether individually or collectively) or on behalf of
                               the holder of any Claim or Interest or other Person, based on or relating to, or in any
                               manner arising from, in whole or in part, the Debtors, the Reorganized Debtors, or their
                               Estates, the Chapter 11 Cases, the purchase, sale, or rescission of the purchase or sale of
                               any security of the Debtors or the Reorganized Debtors, the subject matter of, or the
                               transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
                               business or contractual arrangements or interactions between any Debtor and any
                               Released Party, the Restructuring, the restructuring of any Claim or Interest before or


11
     “Sponsors” means Delaware Life Holdings Parent II, LLC, WPH Holdings II Parent LLC, Eldridge Industries, LLC, and
     Eldridge NPC Holdings LLC and any affiliates of the foregoing, so long as such parties do not object to or interfere with
     the Plan.

                                                                 16
WEIL:\97524852\13\65961.0003
             Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 50 of 52



                               during the Chapter 11 Cases, the Definitive Documents and the documents in the Plan
                               Supplement, and related agreements, instruments, and other documents, and the
                               negotiation, formulation, preparation, or implementation thereof, the solicitation of votes
                               with respect to the Plan, or any other act or omission related to any of the foregoing.
                               Notwithstanding anything to the contrary in the foregoing, the releases set forth above
                               do not release (a) any post-Plan Effective Date obligations of any party or entity under
                               the Plan, any transaction thereunder, or any document, instrument, or agreement
                               (including those set forth in the Plan Supplement) executed to implement the Plan or (b)
                               any individual from any claim related to an act or omission that is determined by a court
                               of competent jurisdiction to have constituted a criminal act, intentional fraud, gross
                               negligence or willful misconduct. Notwithstanding anything else herein, the holders of
                               First Lien Secured Claims shall not pursue, prosecute or assert any of the Additional
                               Debtor Claims, but shall not waive any entitlement, on account of any First Lien
                               Deficiency Claims, to any recovery resulting from of any party’s pursuit, prosecution,
                               resolution, settlement or adjudication of any Additional Debtor Claims retained by any
                               entity under or pursuant to the Plan, if any.
 Exculpation                   To the fullest extent permitted by applicable law, no Exculpated Party will have or incur,
                               and each Exculpated Party will be released and exculpated from, any Claim or Cause of
                               Action in connection with or arising out of the administration of the Chapter 11 Cases;
                               the negotiation and pursuit of the New QB First Lien Take-Back Term Loan, the NPCPH
                               Sale Process, the NPCQB Sale Process, the Management Incentive Plan, the Disclosure
                               Statement, the Restructuring Support Agreement, the Restructuring, the Rights Offering,
                               and the Plan (including the Definitive Documents and the documents in the Plan
                               Supplement), or the solicitation of votes for, or confirmation of, the Plan; the funding of
                               the Plan; the occurrence of the Plan Effective Date; the administration of the Plan or the
                               property to be distributed under the Plan; the issuance of securities under or in connection
                               with the Plan; the purchase, sale, or rescission of the purchase or sale of any security of
                               the Debtors or the Reorganized Debtors; or the transactions in furtherance of any of the
                               foregoing; other than Claims or Causes of Action arising out of or related to any act or
                               omission of an Exculpated Party that is a criminal act or constitutes intentional fraud,
                               gross negligence, or willful misconduct as determined by a Final Order, but in all respects
                               such Persons will be entitled to reasonably rely upon the advice of counsel with respect
                               to their duties and responsibilities pursuant to the Plan. The Exculpated Parties have
                               acted in compliance with the applicable provisions of the Bankruptcy Code with regard
                               to the solicitation and distribution of securities pursuant to the Plan and, therefore, are
                               not, and on account of such distributions will not be, liable at any time for the violation
                               of any applicable law, rule, or regulation governing the solicitation of acceptances or
                               rejections of the Plan or such distributions made pursuant to the Plan, including the
                               issuance of securities thereunder. The exculpation will be in addition to, and not in
                               limitation of, all other releases, indemnities, exculpations, and any other applicable law
                               or rules protecting such Exculpated Parties from liability.
 Injunction                    The Plan will contain customary injunction provisions.




                                                                17
WEIL:\97524852\13\65961.0003
      Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 51 of 52




                                          EXHIBIT B

         FORM OF JOINDER AGREEMENT FOR CONSENTING CREDITORS

       This Joinder Agreement to the Restructuring Support Agreement, dated as of July 1, 2020
(as amended, supplemented or otherwise modified from time to time, the “Agreement”), by and
among the Company and the Consenting Creditors is executed and delivered by [●] (the “Joining
Party”) as of [●]. Each capitalized term used herein but not otherwise defined shall have the
meaning set forth in the Agreement.

        1. Agreement to be Bound. The Joining Party hereby agrees to be bound by all of the
terms of the Agreement, a copy of which is attached to this Joinder Agreement as Annex I (as the
same has been or may be hereafter amended, restated or otherwise modified from time to time in
accordance with the provisions thereof). The Joining Party shall hereafter be deemed to be a
“Consenting Creditor” and a “Party” for all purposes under the Agreement and with respect to any
and all Claims held by such Joining Party.

        2. Representations and Warranties. With respect to the aggregate principal amount of
First Lien Indebtedness and Second Lien Indebtedness, in each case, set forth below its name on
the signature page hereto, the Joining Party hereby makes the representations and warranties of the
Consenting Creditors set forth in Section 7 of the Agreement to each other Party to the Agreement.

        3. Governing Law. This Joinder Agreement shall be governed by and construed in
accordance with the internal laws of the State of New York, without regard to any conflict of laws
provisions which would require the application of the law of any other jurisdiction. Each Party to
this Agreement agrees that it shall bring any action or proceeding in respect of any claim arising
out of or related to the Agreement, to the extent possible, in the Bankruptcy Court, and solely in
connection with claims arising under the Agreement: (a) irrevocably submits to the exclusive
jurisdiction of the Bankruptcy Court; (b) waives any objection to laying venue in any such action
or proceeding in the Bankruptcy Court; and (c) waives any objection that the Bankruptcy Court is
an inconvenient forum or does not have jurisdiction over any Party to the Agreement.

                                    [Signature Page Follows]
      Case 20-33353 Document 4-2 Filed in TXSB on 07/01/20 Page 52 of 52




        IN WITNESS WHEREOF, the Joining Party has caused this Joinder to be executed as of
the date first written above.


CONSENTING CREDITOR

[•]

By:

Name: _____________________

Title: _____________________

Principal Amount of Priority Term Loan Indebtedness: $_____________________

Principal Amount of First Lien Term Loan Indebtedness: $_____________________

Principal Amount of First Lien Revolver Indebtedness: $_____________________

Principal Amount of Second Lien Indebtedness: $_____________________

Interests (please describe): _____________________


Notice Address:




Attention:
Email:




                  SIGNATURE P AGE TO JOINDER TO R ESTRUCTURING S UPPORT AGREEMENT
